   Case: 1:19-cv-00602 Document #: 19 Filed: 06/25/19 Page 1 of 53 PageID #:163



                        IN THE UNITED STATE DISTRICT COURT
                   NORTHERN DISTRICT OF ILLINOIS - EASTERN DIVISION

  PNC Bank, National Association, successor to National
  City Bank
                                      Plaintiff,
  VS                                                             No. 19-cv-602
                                                                 Judge Dow
  650 Church Street, LLC,

                                      Defendant.

  PNC BANK N.A.'S MOTION FOR ENTRY OF A JUDGMENT OF FORECLOSURE AND SALE
   APPOINTING RECEIVER AS SELLING OFFICER,AND AUTHORIZING RECEIVER TO
    MARKET AND SELL THE PROPERTY AND ENTER INTO A LISTING AGREEMENT

        NOW COMES Plaintiff, PNC Bank, National Association,successor to National City Bank

("Plaintiff' or "PNC"), by and through its attorneys Plunkett Cooney P.C. and hereby moves

this Court for entry a judgment of foreclosure and sale appointing the Receiver as sales

officer, and authorizing the court appointed receiver to market and sell the Property which is

the subject matter of this suit and commonly known as 650 Church Street, Lake Zurich,

Illinois 60047 (the "Property") and to enter, if necessary, into a listing agreement, and in

support thereof, states as follows:

       1.     As set forth in Plaintiffs motion for default, Plaintiff served defendant 650

Chuch Street, LLC ("Defendant") with the summons and complaint via the Illinois Secretary

of State on February 25, 2019.

       2.     On March 7, 2019, the sole member of Defendant appeared in court and was

given until April 1, 2019 to obtain counsel and file an appearance. Doc. 12.

       3.     As of the date of this motion, no attorney has appeared on behalf of Defendant

in this cause, and Defendant has not filed an answer or response to the complaint.




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         4.     April 1, 2019, this Court granted PNC's motion to appoint receiver (doc. 16).

 The Court appointed Ryan McNaughton of Ryan McNaughton Holdings, LLC as receiver

(hereafter "Receiver").

        5.      The Receiver is currently in possession and control of the Property and has

 managed the Property in accordance with the duties of a receiver as outlined by 735 ILCS

5/15-1704.

        6.      To date, Defendant has not obtained a proposed short sale that is acceptable

to Plaintiff.

        7.      Based upon Defendant's failure to respond to the complaint, and obtain a an

acceptable short sale for the Property, PNC hereby requests this Court enter a judgment of

foreclosure and sale in its favor and against Defendant in the amount set forth in PNC's

attached supporting affidavit, that being $6,929,185.13 through June 14, 2019. See Exhi b it

1.

        8.      Further, in accord with Illinois law, Plaintiff requests this Court (i) appoint the

Receiver as sales officer and (ii) authorize the Receiver to retain, if necessary, a broker to

market and sell the Property pursuant to the judgment of foreclosure and sale. Illinois

foreclosure law allows foreclosed properties to be sold through a broker. Section 15-

1506(f) of the Illinois Mortgage Foreclosure Law provides, "Without limiting the general

authority and powers of the court, special matters may be included in the judgment of

foreclosure if sought by a party in the complaint or by separate motion. Such matters may

include, without limitation:(1) a manner of sale other than public auction; ...(3) an official

or other person who shall be the officer to conduct the sale other than the one customarily

designated by the court; (4) provisions for non-exclusive broker listings or designating a


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duly licensed real estate broker nominated by one of the parties to exclusively list the real

estate for sale." 735 ILCS 5/15-1506(f).

       9.     If appointed as the designated sales officer, the Receiver proposes, if

necessary, to retain a broker to list and market the Property with a commission rate of no

higher than 6% of the sale price.

       10.    Appointing the Receiver as the sales officer in this action will help ensure the

sale of the Property for the most commercially favorable price for the type of real estate

involved and is in the best interest of the Property, Defendant, and PNC.

       11.    Upon Receiver obtaining a written and signed contact for the sale of the

Property, which the Receiver and PNC are willing to accept, either the Receiver or PNC will

present a motion to this Court to authorize the Receiver's execution of that contract and to

set forth the terms under which said contract may close.




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          WHEREFORE, for the foregoing reasons, PNC Bank, National Association, successor

 to National City Bank, respectfully requests this Court enter a judgment of foreclosure and

 sale in its favor and against Defendant 650 Church Street, LLC in the amount of

 $6,929,185.13; designate the Receiver as sales officer; and grant the Receiver the authority

 to, if necessary, retain a broker to market and sell the Property, and grant such further

 relief to which Plaintiff is entitled.




                                                 PNC Bank, National Association,
                                                 successor to National City Bank, N.A.


                                                 /s/ Matthew L. Hendricksen
                                                 One of Its Attorneys



James M. Crowley, Esq.(ARDC #6182597)
Matthew L. Hendricksen, Esq.(ARDC #6296720)
Plunkett Cooney P.C.
221 N. LaSalle Street, Suite 1550
Chicago, IL 60601
Telephone:(312)670-6900
jcrowley@plunkettcooney.com
mhendricksen@plunkettcooney.com




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                    EXHIBIT 1
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                         IN THE UNITED STATE DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS - EASTERN DIVISION

   PNC Bank, National Association,successor to National City
   Bank
                                        Plaintiff,
   VS                                                             No. 19-cv-602
                                                                  Judge Dow
   650 Church Street, LLC,

                                        Defendant.

                 AFFIDAVIT OF MORTGAGEE IN SUPPORT OF MOTION FOR
             JUDGMENT OF FORECLOSURE AND SALE AND MOTION FOR DEFAULT

         I, Marc Palmer, being first duly sworn on oath deposes and states that if sworn as a

  witness would testify as follows:

        1.      That I have personal knowledge ofthe facts stated in this Affidavit and ifsworn

 as a witness I could testify competently thereto.

        2.      That I am a Vice President with the Asset Resolution Team ofPNC Bank, National

 Association, successor to National City Bank,("Plaintiff" or "PNC")and that in such capacit
                                                                                             yI
 am familiar with the books and records of Plaintiff; I have personally examined same;and
                                                                                            I am
 duly authorized to make this Affidavit on behalf of Plaintiff.

        3.      As a Vice President with PNC on the Asset Resolution Team,I am charged with

 overseeing and managing certain loan accounts,including the Loan which is the subject
                                                                                         ofthis
 lawsuit("Loan"),which is evidenced by the Note (defined in ¶5)and secured by the Mortgag
                                                                                          e
(defined in ¶5).

        4.     As a result of my duties ofoverseeing and managing the Loan,I am familiar with

amounts due upon the Loan and resulting Judgment (defined in ¶11), as well as Plaintiff
                                                                                        's
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   collection efforts thereupon.

          5.     That I am familiar with the following instrument to be foreclosed: A Mortgage,as

  amended, ("Mortgage") executed on November 29, 2007, by 650 Church Street, LLC

 ("Borrower"), as Mortgagor in favor of Plaintiff, as Mortgagee, and recorded against
                                                                                      the
  property commonly known as 650 Church Street, Lake Zurich, Illinois ("Property")to secure

  an indebtedness in the sum of$3,500,000.00 as evidenced by a Promissory Note,as amende
                                                                                         d,
  executed Borrower in favor of Plaintiff on November 29, 2007 (the "Note"). Copies
                                                                                    of the
  Mortgage and Note are attached hereto as Exhibits A and B.

         6.      PNC Bank, National Association, successor to National City Bank is the legal

  holder of said Note and Mortgage given as security therefore.

         7.     The real estate conveyed by the Mortgage is fee simple.

         8.     I am familiar with the books of original entry and accounts maintained
                                                                                       by
 Plaintiff for the amounts due on the Loan.

        9.      I am familiar with the current status of the Loan account.

        10.     Defaults occurred under the terms ofthe Note due to Borrower's failure
                                                                                             to make
 the required payments under the Note when due.

        11.     As a result, Plaintifffiled suit and on February 5,2016,obtained a final
                                                                                           judgment
 on Note in the case ofPNC Bank, N.A. v 650 Church Street, LLC et. al, in the
                                                                                Circuit Court of Lake
 County, case number 10 CH 4470 ("State Court Action") in the amount
                                                                     of $5,321,730.82
(hereafter "Judgment"). Bxh ibit C.

        12.    Subsequent to the date of the Judgment,Borrower has defaulted under upon
                                                                                                 the
Mortgage for failure to pay all amounts due on the judgment.


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            13.      Since the entry ofthe Judgment,Plaintiff has not received or collected
                                                                                              any funds
   due on the Judgment. As such, the full amount of the Judgment remai
                                                                       ns due and owing             to
   Plaintiff.

           14.      There is due and owing to the Plaintiff the following amounts:

           JUDGMENT BALANCE THROUGH June 14, 2019:

                   Judgment Balance                                           $5,321,730.82
                   Post Judgment Interest at 9%                               $1,607,454.31
                   Total                                                      $6,929,185.13
                   Per Diem after June 14,2019: $1,312.21


 WHEREFORE,affiant further sayeth naught.

        I, Marc Palmer, being first duly sworn on oath, state that I
                                                                     have read the foregoing
 Affidavit and believe the contents therein ar ue,in
                                                            nce and fact.


                                         Ad :  It ...JIMsul
                                                          IPPi 11,
                                        Marc Palmer, ice President - Asset Resolution Team
                                        PNC Bank, National Association



SUBSCRIBED AND SWORN TO
before me this t. •ay of
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      2 1
        BLIC

 James M. Crowley, Esq.(ARDC #6182597)
 Matthew L. Hendricksen, Esq.(ARDC #6296720)
Plunkett Cooney P.C.
221 N. LaSalle Street, Suite 1550
Chicago,IL 60601
Telephone:(312)670-6900
jcrowley@iplunkettcooney.com
Open.26645.73853.22301753-1
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                      EXHIBIT A
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         RECORDATION REQUESTED BY:
            National City Bank
            Chicago
            One North Franklin, Suite
            3600
                                                                                     MEM IN IMO
                                                                                    Impel/ 042519810 00
                                                                                                      14 Type: FITO
                                                                                                                    IT  I
            Chicago, IL 60606                                                       Recorded: 12/09 2007 at 02:11'.00 P11
                                                                                    Receipt/is 2007- 67480
                                                                                    Total Mit: $49.00 Page 1 of 14
                                                                                    IL Banta]. Housing Fund: $10.00
         WHEN RECORDED MAIL TO:                                                     Lake County IL Redtrder
                                                                                    Mary Ellen Venderventer Recorder
           National City Bank
           P.O. Box 2977                                                             F1106276360
           Pittsburgh, PA 15230

        SEND TAX NOTICES TO:
           850 Church Street, LLC
           650 Church Street
           Lake Zurich, 1L 80047                                                             FOR RECORDER'S USE ONLY



        This Mortgage prepared by;
               Daraay Luce on behalf of
               National City Bank
               One North Franklin, Suhe 3600
               Chicago, IL 80806


         NationalCdyan
                                                        MORTGAGE
        MAXIMUM LIEN. At no time shall the principal amount of Indebtedness secured by the Mortgage, not
        Including sums advanced to protect the security of the Mortgage, exceed *3,500,000.00.

        THIS MORTGAGE dated November 29, 2007, is made and executed between 660 Church Street, LLC, an
        Illinois limited liability company, whose address is 650 Church Street, Lake Zurich, IL 80047 (referred to below
        as "Grantor") and National City Bank, whose address is One North Franklin, Sutter 3600, Chicago, IL 80608
        (referred to below es "Lander").
        GRANT OF MORTGAGE. For valuable consideration, Grantor mortgages, warrants, and conveys to Lender all
        of Grantor's right, title, and Interest in and to the following described real property, together with all existing or
        subsequently erected or affixed buildings, improvements and fixtures; all easements, rights of way, end
        appurtenances; ell water, water rights, watercourses and ditch rights (including stock in utilities with ditch or
        irrigation rights); and ell other rights, royalties, and profits relating to the real property, Including without
        limitation all minerals, oil, gee, geothermal and similar matters, (the "Reel Property") located In Lake County,
        State of Illinois:
            See attached Exhibit "A", which Is attached to this Mortgage and made a pert of this Mortgage as If fully
            set forth herein.
        The Real Property or its address le commonly known es 860 Church Street, Lake Zurich, IL 80047. The Real
        Property tax Identification number Is 14-16.100-016-0000, 14-16-100-017-0000 and 14-18-100-032-0000.
        CROSS-COLLATERALIZATION. In addition to the Note, this Mortgage secures all obligations, debts and
        liabilities, plus interest thereon, of Grantor to Lender, or any one or more of them, as wall as ell claims by
        Lender against Grantor or any one or more of them, whether now existing or hereafter arising, whether related




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                                                          MORTGAGE
         Loan No: 15081S                                  (Continued)                                                 Page 2

         or unrelated to the purpose of the Note, whether voluntary or otherwise, whether due or not due, direct or
         indirect, determined or undetermined, absolute or contingent, liquidated or unliquideted, whether Grantor may
         be liable individually or Jointly with others, whether obligated as guarantor, surety, accommodation party or
         otherwise, end whether recovery upon such amounts may be or hereafter may become barred by any statute
                                                                                                                    of
         limitations, and whether the obligation to repay such amounts may be or hereafter may become otherwise
         unenforceable.
         Grantor presently assigns to Lender all of Grantor's right, title, and interest In and to all present and future
         leases of the Property and all Rents from the Property. In addition, Grantor grants to Lender a
                                                                                                                 Uniform
         Commercial Code security interest in the Personal Property and Rents.
         FUTURE ADVANCES. In addition to the Note, this Mortgage secures all future advances made by Lender to
         Grantor whether or not the advances ere made pursuant to a commitment. Specifically, without limitation, this
         Mortgage MUMS, in addition to the amounts specified in the Note, all future amounts Lender in Its discretion
         may loan to Grantor, together with ell interest thereon.
         THIS MORTGAGE, INCLUDING THE ASSIGNMENT OF RENTS AND THE SECURITY INTEREST IN THE
                                                                                                                 RENTS
         AND PERSONAL PROPERTY, IS GIVEN TO SECURE (A) PAYMENT OF THE INDEBTEDNESS AND
                                                                                                                    (B)
         PERFORMANCE OF ANY AND ALL OBLIGATIONS UNDER THE NOTE, THE RELATED DOCUMENTS, AND
                                                                                                                   THIS
         M  ORTGAGE.   THIS MORTGAGE IS GIVEN AND ACCEPTED ON THE FOLLOWING TERMS:
         PAYMENT AND PERFORMANCE. Except as otherwise provided in this Mortgage, Grantor shall pay
                                                                                                              to Lender
         ell amounts secured by this Mortgage as they become due and shall strictly perform all of Grantor's
                                                                                                             obligations
         under this Mortgage.
         POSSESSION AND MAINTENANCE OF THE PROPERTY. Grantor agrees that Grantor's possession
                                                                                              and use of
         the Property shell be governed by the following provisions:
            Possession and Use. Until the occurrence of an Event of Default, Grantor may (1) remain in
                                                                                                          possession
            end control of the Property; (2) use, operate or manage the Property; end (3) collect the Rents
                                                                                                            from the
            Property.
            Duty to Maintain. Grantor shall maintain the Property in tenantable condition and promptly
                                                                                                       perform all
            repairs, replacements, and maintenance necessary to preserve its value.
            Compliance With Environmental Laws. Grantor represents and warrants to Lander that:
                                                                                                            (1) During the
            period of Grantor's ownership of the Property, there has been no use, generation, manufactur
                                                                                                                 e, storage,
            treatment, disposal, release or threatened release of any Hazardous Substance by any person
                                                                                                                  on, under,
            about or from the Property; (2) Grantor has no knowledge of, or reason to believe that
                                                                                                            there has bean,
            except es previously disclosed to and acknowledged by Lender In writing, (a) any breech
                                                                                                              or violation of
            any Environmental Laws, (b) any use, generation, manufacture, storage, treatment,
                                                                                                       disposal, release or
            threatened release of any Hazardous Substance on, under, about or from the Property
                                                                                                      by any prior owners
           or occupants of the Property, or (c) any actual or threatened litigation or claims of
                                                                                                   any kind by any person
            relating to such matters; and (3) Except es previously disclosed to and acknowled
                                                                                                         ged by Lender in
            writing, la) neither Grantor nor any tenant, contractor, agent or other authorized user of
                                                                                                         the Property shall
           use, generate, manufacture, store, treat, dispose of or release any Hazardous Substance
                                                                                                           on, under, about
           or from the Property; and (b) any such activity shall be conducted
                                                                                        in compliance whh all applicable
           federal, state, end local laws, regulations and ordinances, including without limitation
                                                                                                          ell Environmental
           Laws. Grantor authorizes Lender end its agents to enter upon the Property
                                                                                            to make such Inspections and
           tests, at Grantor's expense, as Lender may deem appropriate to determine compliance
                                                                                                      of the Property with
           this section of the Mortgage. Any inspections or tests made by Lender shall be for
                                                                                                   Lender's purposes only
           and shall not be construed to create any responsibility or liability on the part of
                                                                                               Lender to Grantor or to any
           other person. The representations and warranties contained herein are based
                                                                                             on Grantor's due diligence in
           Investigating the Property for Hazardous Substances. Grantor hereby (1) releases
                                                                                                    and waives any future
           claims against Lender for indemnity or contribution in the event Grantor becomes liable for
                                                                                                           cleanup or other
           costs under any such laws; and 12) agrees to indemnify, defend, and hold harmless
                                                                                                       Lender against any
           arid all claims, losses, liabilities, damages, penalties, and expanses which Lender may
                                                                                                      directly or indirectly




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                                                           MORTGAGE
         Loan No: 150815                                   (Continued)                                               Page 3

             sustain or suffer resulting from a breech of this section of the Mortgage or as a consequence of any
                                                                                                                     use,
             generation, manufacture, storage, disposal, release or threatened release occurring prior to Grantor's
             ownership or interest in the Property, whether or not the same was or should have been known to Grantor.
             The provisions of this section of the Mortgage, including the obligation to indemnify and defend, shall
             survive the payment of the indebtedness and the satisfaction and reconveyance of the lien of this Mortgage
             and shall not be affected by Lender's acquisition of any interest in the Property, whether by foreclosur
                                                                                                                      e or
             otherwise.
             Nuisance, Waste. Grantor shall not cause, conduct or permit any nuisance nor commit, permit, or suffer
             any stripping of or waste on or to the Property or any portion of the Property. Without
                                                                                                              limiting the
             generality of the foregoing, Grantor will not remove, or grant to any other party the right to remove,
                                                                                                                       any
             timber, minerals (including oil and gas), coal, clay, scoria, soil, gravel or rock products without
                                                                                                                  Lender's
             prior written consent.
            Removal of improvements. Grantor shall not demolish or remove any Improvements from the Real
                                                                                                                Property
             without Lender's prior written consent. As a condition to the removal of any improvements, Lender
                                                                                                                    may
            require Grantor to make arrangements satisfactory to Lender to replace such improvements
                                                                                                                    with
            I mprovements of et least equal value.
            Lender's flight to Enter. Lender and Lender's agents and representatives may enter upon the
                                                                                                           Real Property
            at all reasonable times to attend to Lender's interests end to inspect the Reel Property for
                                                                                                            purposes of
            Grantor's compliance with the terms end conditions of this Mortgage.
            Compliance with Governmental Requirements. Grantor shall promptly comply with all laws,
                                                                                                             ordinanoes,
            end regulations, now or hereafter in effect, of all governmental authorities applicable to
                                                                                                             the use or
            occupancy of the Property, including without limitation, the Americans With Disabilities Act.
                                                                                                            Grantor may
            contest in good faith any such law, ordinance, or regulation and withhold compliance during
                                                                                                                     any
            proceeding, including appropriate appeals, so long as Grantor has notified Lender in writing
                                                                                                          prior to doing
            so and so long as, In Lender's sole ()Onion, Lender's interests in the Property are not jeopardized.
                                                                                                                  Lender
            may require Grantor to post adequate security or a surety bond, reasonably satisfactory to Lander,
                                                                                                                      to
            protect Lender's interest.
            Duty to Protect, Grantor agrees neither to abandon or leave unattended the Property. Grantor
                                                                                                                shall do all
            other acts, in addition to those acts set forth above in this section, which from the character and
                                                                                                                 use of the
            Property ate reasonably necessary to protect and preserve the Property.
         DUE ON SALE - CONSENT BY LENDER. Lender may, et Lender's option, declare immediately due
                                                                                                                and payable
        all sums secured by this Mortgage upon the sale or transfer, without Lender's prior written
                                                                                                          consent, of ell or
         any part of the Real Property, or any Interest in the Reel Property. A "sale or transfer" means
                                                                                                            the conveyance
        of Real Property or any right, title or Interest in the Real Property; whether legal, beneficial
                                                                                                               or equitable;
         whether voluntary or involuntary; whether by outright sale, deed, Installment sale contract, land
                                                                                                                    contract,
        contract for deed, leasehold interest with a term greater then three (3) years, lease-option contract,
                                                                                                                  or by sale,
        assignment, or transfer of any beneficial interest in or to any land trust holding title to the Reel Property,
                                                                                                                        or by
        any other method of conveyance of an interest In the Real Property. if any Grantor is a
                                                                                                                corporation,
        partnership or limited liability company, transfer also Includes any change In ownership of
                                                                                                            more than fifty
        percent (50%) of the voting stock, partnership interests or limited liability company Interests, as the
                                                                                                                   case may
        be, of such Grantor. However, this option shall not be exercised by Lender if such exercise
                                                                                                            is prohibited by
        federal law or by Illinois law.
        TAXES AND LIENS. The following provisions relating to the taxes and liens on the Property
                                                                                                  are part of this
        Mortgage:
           Payment. Grantor shell pay when due land in all events prior to delinquency) all taxes,
                                                                                                         payroll taxes,
           special taxes, assessments, water charges and sewer service charges levied against or on
                                                                                                        account of the
           Property, and shall pay when due all claims for work done on or for services rendered or
                                                                                                     material furnished
           to the Property. Grantor shall maintain the Property fres of any liens having priority over or
                                                                                                           equal to the
           Interest of Lender under this Mortgage, except for those liens specifically agreed to In
                                                                                                    writing by Lender,




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                                                            MORTGAGE
         Loan No: 150816                                    (Continued)                                                    Page 4

             and except for the lien of taxes and assessments not due as further
                                                                                 specified in the Right to Contest
             paragraph.
             Right to Contest. Grantor may withhold payment of any tax, assessme
                                                                                             nt, or claim In connection with a
             good faith dispute over the obligation to pay, so long as Lender's interest in the Property
                                                                                                                is not jeopardized.
             If a lien arises or is filed es a result of nonpayment, Grantor shall within fifteen
                                                                                                         115) days after the Ilan
             arises or, if a lien is flied, within fifteen 1151 days after Grantor has notice of the filing, secure
                                                                                                                     the discharge
             of the lien, or if requested by Lender, deposit with Lender cash or a sufficient
                                                                                                       corporate surety bond or
             other security satisfactory to Lender in an amount sufficient to discharge the
                                                                                                        lien plus any costs and
             attorneys' fees, or other charges that could accrue as a result of a foreclosu
                                                                                                   re or sale under the lien. In
             any contest, Grantor shall defend itself and Lender and shall satisfy
                                                                                                any adverse Judgment before
             enforcement against the Property. Grantor shall name Lender as an additional
                                                                                                       obligee under any surety
             bond furnished in the contest proceedings.
            Evidence of Payment. Grantor shall upon demand furnish to Lender satisfaot
                                                                                                    ory evidence of payment of
            the taxes or assessments and shall authorize the appropriate governmental
                                                                                                 official to deliver to Lender at
            any time a written statement of the taxes and assessments against the Property.
            Notice of Construction. Grantor shall notify Lander at least fifteen (15)
                                                                                                     days before any work is
            commenced, any services are furnished, or any materials are supplied to the Property
                                                                                                              , if any mechanic's
            lien, materialmen's Ilan, or other lien could be asserted on account of the
                                                                                               work, services, or materiels and
            the cost exceeds $20,000.00. Grantor will upon request of Lender furnish to Lender
                                                                                                             advance assurances
            satisfactory to Lender that Grantor can and will pay the cost of such Improvements.
         PROPERTY DAMAGE INSURANCE. The following provisions relating to insuring
                                                                                  the Property are a pert of this
         Mortgage:
            Maintenance of Insurance. Grantor shall procure and maintain policies of
                                                                                                fire insurance with standard
            extended coverage endorsements on a replacement basis for
                                                                                     the full insurable value covering all
            Improvements on the Reel Property in an amount sufficient to avoid application
                                                                                                   of any coinsurance clause,
            and with a standard mortgagee clause in favor of Lender. Grantor
                                                                                           shall also procure and maintain
            comprehensive general liability insurance In such coverage amounts as Lender
                                                                                                     may request with Lender
            being named as additional insureds in such liability insurance policies. Additiona
                                                                                                    lly, Grantor shall maintain
           such other insurance, Including but not limited to hazard, business Interrupt
                                                                                                  ion and boiler insurance as
            Lender may require. Policies shell be written by such insuranc companie
                                                                                 e            s and in such form as may be
            reasonably acceptable to Lander. Grantor shall deliver to Lender certificat
                                                                                            es of coverage from each insurer
           containing a stipulation that coverage will not be cancelled or diminished without
                                                                                                      a minimum of thirty (30)
           days' prior written notice to Lender and not containing any disclaime
                                                                                      r of the insurer'e liability for failure to
           give such notice. Each insurance policy also shall Include an endorsem
                                                                                        ent providing that coverage in favor
           of Lender will not be impaired in any way by any act, omission
                                                                                 or default of Grantor or any other person.
           Should the Real Property be located In an area designated by
                                                                                    the Director of the Federal Emergency
           Management Agency as a special flood hazard area, Grantor agrees
                                                                                       to obtain and maintain Federal Flood
           Insurance, if available, for the full unpaid principal balance of
                                                                               the loan and any prior liens on the property
           securing the loan, up to the maximum policy limits act under the
                                                                                   National Flood Insurance Program, or as
           otherwise required by Lender, and to maintain such insuranc
                                                                            e for the term of the loan.
           Application of Proceeds. Grantor shall promptly notify Lender of any
                                                                                       loss or damage to the Property if the
           estimated cost of repair or replacement exceeds 05,000.00. Lender
                                                                                      may make proof of loss if Grantor fails
           to do so within fifteen (15) days of the casualty. Whether or not Lender's
                                                                                                 security Is Impaired, Lender
           may, at Lander's election, receive and retain the proceeds of any insurance and apply
                                                                                                           the proceeds to the
           reduction of the indebtedness, payment of any Ilan effecting the Property
                                                                                           , or the restoration and repair of
           the Property. If Lender elects to apply the proceeds to restoration and repair,
                                                                                                Grantor shall repair or replace
           the damaged or destroyed Improvements in a manner satisfactory to
                                                                                               Lender. Lender shall, upon
           satisfactory proof of such expenditure, pay or reimburse Grantor
                                                                                 from the proceeds for the reasonable cost
           of repair or restoration if Grantor is not in default under this Mortgage
                                                                                      . Any proceeds which have not been
           disbursed within 160 days after their receipt and which
                                                                             Lender has not committed to the repair or




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                                                           MORTGAGE
         Loan No: 160816                                   (Continued)                                                   Page 5

            restoration of the Property shall be used first to pay any amount owing to Lender under this Mortgage, then
            to pay accrued interest, and the remainder, If any, shall be applied to the principal balance of the
            Indebtedness. If Lender holds any proceeds after payment in full of the Indebtedness, such proceeds shall
            be paid to Grantor es Grantor's interests may appear.
              Grantor's Report on Insurance. Upon request of Lender, however not more than once a year, Grantor shall
             furnish to Lender a report on each existing policy of insurance showing: 111 the name of the insurer; (2)
             the risks insured; (3) the amount of the policy; (4) the property insured, the then current replacement
             value of such property, and the manner of determining that value; and 151 the expiration date of the
             policy. Grantor shall, upon request of Lender, have an independent appraiser satisfactory to Lender
             determine the cash value replacement cost of the Property.
         LENDER'S EXPENDITURES. If any action or proceeding is commenced that would materially affect Lender's
         interest in the Property or if Grantor fails to comply with any provision of this Mortgage or any Related
         Documents, Including but not limited to Grantor's failure to discharge or pay when due any amounts Grantor Is
         required to discharge or pay under this Mortgage or any Related Documents, Lender on Grantor's behalf may
        (but shall not be obligated to) take any action that Lender deems appropriate, including but not limited to
        discharging or paying all taxes, liens, security interests, encumbrances and other claims, at any time levied
                                                                                                                      or
        placed on the Property and paying all costs for insuring, maintaining and preserving the Property. All such
        expenditures incurred or paid by Lender for such purposes will than bear interest at the rate charged under the
        Note from the date incurred or paid by Lender to the date of repayment by Grantor, All such expenses
                                                                                                                     will
        become a pert of the Indebtedness and, at Lender's option, will (A) be payable on demand; (B) be added to
        the balance of the Note and be apportioned among and be payable with any installment payments to become
        due during either (1) the term of any applicable insurance policy; or (2) the remaining term of the Note; or
        IC) be treated as a balloon payment which will be due and payable at the Note's maturity. The Mortgage
                                                                                                                    also
        will secure payment of these amounts. Such right shall be In addition to all other rights and remedies to which
        Lender may be entitled upon Default.
        WARRANTY; DEFENSE OF TITLE. The following provisions relating to ownership of the Property are a
                                                                                                                 pert of
        this Mortgage:
            Title. Grantor warrants that: (a) Grantor holds good and marketable title of record to the Property
                                                                                                                           in fee
            simple, free and clear of all liens and encumbrances other than those set forth in the Reel Property
            description or In any title insurance policy, title report, or final title opinion issued in favor of, and accepted
            by, Lender In connection with this Mortgage, and (b) Grantor has the full right, power, and
                                                                                                                    authority to
            execute and deliver this Mortgage to Lender.
            Defense of Title. Subject to the exception in the paragraph above, Grantor warrants and
                                                                                                                    will forever
            defend the title to the Property against the lawful claims of all persons. in the event any
                                                                                                                       action or
            proceeding is commenced that questions Grantor's title or the interest of Lender under this Mortgage,
            Grantor shall defend the action at Grantor's expense. Grantor may be the nominal party
                                                                                                                        in such
            proceeding, but Lender shall be entitled to participate in the proceeding and to be represented
                                                                                                                          in the
            proceeding by counsel of Lender's own choice, and Grantor will deliver, or cause to be delivered, to
                                                                                                                          Lender
           such Instruments as Lender may request from time to time to permit such participation.
           Compliance With Laws. Grantor warrants that the Property and Grantor's use of the
                                                                                                             Property complies
           with all existing applicable laws, ordinances, and regulations of governmental authorities.
           S' urvival of Representations end Warranties. All representations, warranties, and agreements
                                                                                                                       made by
           Grantor in this Mortgage shall survive the execution and delivery of this Mortgage, shall be
                                                                                                                   continuing in
           nature, and shall remain in full force and effect until such time as Grantor's Indebtednes
                                                                                                              s shall be paid in
           full.
        CONDEMNATION. The following provisions relating to condemnation proceedings are a part of this
                                                                                                         Mortgage:
           Proceedings. If any proceeding in condemnation is filed, Grantor shall promptly notify Lender
                                                                                                          in writing,
           and Grantor shall promptly take such steps as may be necessary to defend the action end
                                                                                                          obtain the




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          Loan No: 160816                                  (Continued)                                                Page 6

              award. Grantor may be the nominal party in such proceeding, but Lender
                                                                                     shall be entitled to participate In
              the proceeding and to be represented in the proceeding by counsel of its
                                                                                       own choice, and Grantor will
              deliver or cause to be delivered to Lender such Instruments and documentation
                                                                                             as may be requested by
              Lender from time to time to permit such participation.
                Application of Net Proceeds. If all or any part of the Property is condem
                                                                                                    ned by eminent domain
                proceedings or by any proceeding or purchase in lieu of condemnation,
                                                                                           Lender may at its election require
                that all or any portion of the net proceeds of the award be applied
                                                                                        to the indebtedness or the repair or
                restoration of the Property. The net proceeds of the award shell
                                                                                      mean the award after payment of ell
                reasonable costs, expenses, and attorneys' fees incurred by Lender in connect
                                                                                                ion with the condemnation.
          IMPOSITION OF TAXES, FEES AND CHARGES BY GOVERNMENT
                                                                              AL AUTHORITIES. The following provisions
          relating to governmental taxes, fees and charges ere a part of this Mortga
                                                                                       ge:
                Current Taxes, Fees and Charges. Upon request by Lender,
                                                                                 Grantor shall execute such documents in
               addition to this Mortgage and take whatever other action is request
                                                                                      ed by Lender to perfect and continue
               Lender's Ilan on the Real Property. Grantor shall reimburse Lender
                                                                                         for all taxes, as described below,
              together with all expanses incurred in recording, perfecting or continu
                                                                                        ing this Mortgage, including without
               limitation all taxes, fees, documentary stamps, and other charges
                                                                                  for recording or registering this Mortgage.
              Taxes. The following shall constitute taxes to which this section
                                                                                  applies; (1) a specific tax upon this type
              of Mortgage or upon all or any pert of the Indebtedness secured
                                                                                   by this Mortgage; 121 a specific tax on
              Grantor which Grantor is authorized or required to deduct from
                                                                                 payments on the indebtedness secured by
              this type of Mortgage; (3) a tax on this type of Mortgage chargea
                                                                                     ble against the Lender or the holder of
              the Note; and (it) a specific tax on all or any portion of the
                                                                             Indebtedness or on payments of principal and
              Interest made by Grantor.
             Subsequent Texas. If any tax to which this section applies
                                                                                is enacted subsequent to the date of this
              Mortgage, this event shall have the same effect as an
                                                                      Event of Default, and Lender may exercise any or all
              of its available remedies for an Event of Default as provide
                                                                           d below unless Grantor either (1) pays the tax
              before it becomes delinquent, or 12) contests the tax as provide
                                                                                    d above in the Taxes and Liens section
              and deposits with Lender cash or a sufficient corporate
                                                                            surety bond or other security satisfactory to
             Lender.
         SECURITY AGREEMENT; FINANCING STATEMENTS. The followi
                                                               ng provisions relating to this Mortgage as a
         security agreement are a part of this Mortgage:
            Security Agreement. This instrument shall constitu
                                                                   te a Security Agreement to the extent any of the
            Property constitutes fixtures, and Lender shall have all
                                                                     of the rights of a secured party under the Uniform
            Commercial Code as amended from time to time.
            Security Interest. Upon request by Lender, Grantor
                                                                   shall take whatever action is requested by Lender to
            perfect and continua Lender's security interest in
                                                               the Rents and Personal Property, In addition to recording
            this Mortgage in the reel property records, Lender
                                                                may, at any time and without further authorization from
            Grantor, file executed counterparts, copies or reprodu
                                                                     ctions of this Mortgage as a financing statement.
            Grantor shall reimburse Lender for all expenses incurred
                                                                        in perfecting or continuing this security interest.
            Upon default, Grantor shall not remove, sever
                                                             or detach the Personal Property from the Property. Upon
            default, Grantor shall assemble any Personal Property
                                                                   not affixed to the Property In a manner and et a place
            reasonably convenient to Grantor and Lender and
                                                                 make it available to Lender within three (3) days after
            receipt of written demand from Lender to the extent
                                                                  permitted by applicable law.
            Addresses, The mailing addresses of Grantor (debtor) and
                                                                          'Lender Immured party) from which Information
            concerning the security interest granted by this
                                                                 Mortgage may be obtained (each es required by the
            Uniform Commercial Coda) ere as stated on the first
                                                                  page of this Mortgage.
        FURTHER ASSURANCES; ATTORNEY-IN-FACT.
                                                           The following provisions relating to further assurances and
        attorney-in-fact are a pert of this Mortgage:




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          Loan No: 160816                                  (Continued)                                                Page 7

              Further Assurances. At any time, and from time to time, upon request of Lender, Grantor will make,
              execute and deliver, or will cause to be made, executed or delivered, to Lander or to Lender's designee,
                                                                                                                          end
              when requested by Lender, cause to be filed, recorded, raffled, or rerecorded, as the case may be,
                                                                                                                      et such
             times and in such offices and places as Lender may deem appropriate, any and all such mortgages, deeds
             of trust, security deeds, security agreements, financing statements, continuation statements, Instrumen
                                                                                                                            ts
             of further assurance, certificates, end other documents as may, in the sole opinion of Lender, be necessary
             or desirable in order to effectuate, complete, perfect, continue, or preserve (1) Grantor's obligation
                                                                                                                             s
             under the Note, this Mortgage, and the Related Documents, and (2) the liens and security interests
             created by this Mortgage as first and prior liens on the Property, whether now owned or hereafter
                                                                                                                     acquired
             by Grantor. Unless prohibited by law or Lender agrees to the contrary in writing, Grantor shall reimburse
             Lender for all coats and expenses incurred in connection with the matters referred to in this paragraph
                                                                                                                        .
             Attorney-in-Fact. If Grantor fails to do any of the things referred to in the preceding paragraph,
                                                                                                                 Lender may
             do so for and in the name of Grantor end at Grantor's expense. For such purposes, Grantor
                                                                                                                       hereby
             Irrevocably appoints Lender as Grantor's attorney-in-fact for the purpose of making, executing,
                                                                                                                   delivering,
             filing, recording, and doing ell other things as may be necessary or desirable, in Lender's sole
                                                                                                                  opinion, to
             accomplish the matters referred to in the preceding paragraph.
         FULL PERFORMANCE. If Grantor pays all the indebtedness, including without limitation ell future
                                                                                                                   advances,
         when due, and otherwise performs ail the obligations imposed upon Grantor under this Mortgage,
                                                                                                                Lender shall
         execute and deliver to Grantor a suitable satisfaction of this Mortgage and suitable atatements
                                                                                                           of termination of
         any financing statement on file evidencing Lender's security interest in the Rents and the Personal
                                                                                                                    Property.
         Grantor will pay, if permitted by applicable law, any reasonable termination fee as determined by
                                                                                                                Lender from
         time to time.
         REINSTATEMENT OF SECURITY INTEREST. If payment is made by Grantor, whether voluntarily or
                                                                                                                otherwise,
         or by guarantor or by any third party, on the indebtedness and thereafter Lender Is forced
                                                                                                      to remit the amount
         of that payment (A) to Grantor's trustee in bankruptcy or to any similar person under any
                                                                                                          federal or state
          bankruptcy law or law for the relief of debtors, (13) by reason of any judgment, decree or order of
                                                                                                              any court or
         administrative body having Jurisdiction over Lender or any of .Lender's property, or (C)
                                                                                                        by reason of any
         settlement or compromise of any claim made by Lender with any claimant (including
                                                                                                        without limitation
         Grantor), the indebtedness shall be considered unpaid for the purpose of enforcement of
                                                                                                   this Mortgage and this
         Mortgage shall continue to be effective or shell be reinstated, as the case may be, notwithsta
                                                                                                                 nding any
         cancellation of this Mortgage or of any note or other instrument or agreement evidencing the
                                                                                                        indebtedness and
         the Property will continue to secure the amount repaid or recovered to the same extent as If that
                                                                                                            amount never
         had bean originally received by Lander, end Grantor shall be bound by any judgment, decree,
                                                                                                         order, settlement
         or compromise relating to the Indebtedness or to this Mortgage.
         EVENTS OF DEFAULT. Each of the following, at Lender's option, shall constitute
                                                                                               an Event of Default under
         this Mortgage:
            Payment Default. Grantor fails to make any payment when due under the Indebtedne
                                                                                               ss.
            Default on Other Payments. Failure of Grantor within the time required by
                                                                                        this Mortgage to make any
            payment for taxes or insurance, or any other payment necessary to prevent filing
                                                                                             of or to effect discharge
            of any lien.
            Other Defaults. Grantor fails to comply with or to perform any other term,
                                                                                                 obligation, covenant or
            condition contained in this Mortgage or in any of the Related Documents or to
                                                                                              comply with or to perform
            any term, obligation, covenant or condition contained in any other agreement between
                                                                                                     Lender and Grantor.
            False Statements. Any warranty, representation or statement made or furnished
                                                                                                 to Lender by Grantor or
            on Grantor's behalf under this Mortgage or the Related Documents is false or
                                                                                               misleading in any material
            respect, either now or at the time made or furnished or becomes false misleading
                                                                                    or            at any time thereafter.
            Defective Collateralization. This Mortgage or any of the Related
                                                                                Documents ceases to be In full force and
            effect (Including failure of any collateral document to create a valid end perfected
                                                                                                 security interest or lien)




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            at any time and for any reason.
             Death or Insolvency. The dissolution of Grantor's {regardless of whether election to continue is
                                                                                                               made), any
             member withdraws from the limited ►iability company, or any other termination of Grantor's existence
                                                                                                                      as a
             going business or the death of any member, the insolvency of Grantor, the appointment of
                                                                                                            a receiver for
            any part of Grantor's property, any assignment for the benefit of creditors, any type of creditor workout,
                                                                                                                        or
            the commencement of any proceeding under any bankruptcy or insolvency laws by or against Grantor.
            Creditor or Forfeiture Proceedings. Commencement of foreclosure or forfeiture proceedings,
                                                                                                              whether by
            Judicial proceeding, self-help, repossession or any other method, by any creditor of Grantor
                                                                                                               or by any
            governmental agency against any property securing the Indebtedness. This Includes a garnishme
                                                                                                                 nt of any
            of Grantor's accounts, including deposit accounts, with Lender. However, this Event of Default shall
                                                                                                                       not
            apply if there is a good faith dispute by Grantor as to the validity or reasonableness of the claim
                                                                                                                 which is
            the basis of the creditor or forfeiture proceeding and if Grantor gives Lender written notice
                                                                                                           of the creditor
            or forfeiture proceeding and deposits with Lender monies or a surety bond for the creditor
                                                                                                             or forfeiture
            proceeding, in an amount determined by Lender, in hs sole discretion, as being an adequate
                                                                                                         reserve or bond
            for the dispute.
            Breach of Other Agreement. Any breach by Grantor under the terms of any other
                                                                                                agreement between
            Grantor and Lender that is not remedied within any grace period provided therein,
                                                                                                  including without
            limitation any agreement concerning any indebtedness or other obligation of Grantor to
                                                                                                    Lander, whether
            existing now or later.
            Events Affecting Guarantor. Any of the preceding events occurs with respect to any
                                                                                               Guarantor of any of
            the Indebtedness or any Guarantor dies or becomes incompetent, or revokes or disputes the
                                                                                                      validity of, or
            liability under, any Guaranty of the indebtedness.
            Adverse Change. A material adverse change occurs in Grantor's financial condition, or Lender
                                                                                                         believes the
            prospect of payment or performance of the Indebtedness is Impaired.
        RIGHTS AND REMEDIES ON DEFAULT. Upon the occurrence of an Event of Default
                                                                                                    and at any time
        thereafter, Lender, at Lender's option, may exercise any one or more of the following rights
                                                                                                     and remedies, in
        addition to any other rights or remedies provided by law:
           A ccelerate Indebtedness. Lender shall have the right at Its option without notice
                                                                                              to Grantor to declare the
           entire Indebtedness Immediately due and payable, Including any prepayment penalty that Grantor
                                                                                                              would be
           required to pay.
           UCC Remedies. With respect to all or any part of the Personal Property, Lender
                                                                                          shall have all the rights and
           remedies of a secured party under the Uniform Commercial Code.
            Collect Rents. Lender shall have the right, without notice to Grantor, to
                                                                                          take possession of the Property
            and collect the Rents, Including amounts past due and unpaid, and apply
                                                                                        the net proceeds, over and above
            Lender's costs, against the Indebtedness, in furtherance of this right, Lender
                                                                                               may require any tenant or
            other user of the Property to make payments of rent or use fees directly
                                                                                             to Lender. If the Rents are
            collected by Lender, then Grantor irrevocably designates Lender as
                                                                                   Grantor's attorney-in-feat to endorse
           Instruments received in payment thereof in the name of Grantor and
                                                                                   to negotiate the same and collect the
            proceeds. Payments by tenants or other users to Lender In response to Lender's
                                                                                                  demand shall satisfy the
            obligations for which the payments are made, whether or not any proper grounds
                                                                                                  for the demand existed.
            Lender may exercise its rights under this subparagraph either In person,
                                                                                     by agent, or through a receiver.
           Mortgagee In Possession. Lender shell have the right to be placed as mortgagee In
                                                                                                   possession or to have a
           receiver appointed to take possession of all or any part of the Property, with
                                                                                                the power to protect and
           preserve the Property, to operate the Property preceding foreclosure
                                                                                  or sale, and to collect the Rents from
           the Property end apply the proceeds, over and above the coat of the
                                                                                                receivership, against the
           Indebtedness. The mortgagee in possession or receiver may
                                                                              serve without bond if permitted by law.
           Lender's right to the appointment of a receiver shall exist whether or not
                                                                                       the apparent value of the Property
           exceeds the indebtedness by a substantial amount. Employment by
                                                                                    Lender shell not disqualify a person




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             from serving as a receiver.
             Judicial Foreclosure. Lender may obtain a judicial decree foreclosing Grantor's interest in all or any part of
             the Property.
            Deficiency Judgment. If permitted by applicable law, Lander may obtain a judgment for any deficiency
            remaining in the Indebtedness due to Lender after application of all amounts received from the exercise of
            the rights provided in this section.
            Other Remedies. Lender shall have all other rights end remedies provided in this Mortgage or the Note or
            available et law or in equity.
            Sale of the Property. To the extant permitted by applicable law, Grantor hereby waives any and all right to
            have the Property marshalled, In exercising its rights and remedies, Lender shell be free to sell all or any
            part of the Property together or separately, In one sale or by separate sales. Lender shall be entitled to bid
            at any public sale on all or any portion of the Property.
            Notice of Sale. Lender shall give Grantor reasonable notice of the time and place of any public sale of the
            Personal Property or of the time after which any private sale or other intended disposition of the Personal
            Property is to be made. Reasonable notice shall mean notice given at least ten 110) days before the time of
            the sale or disposition. Any sale of the Personal Property may be made in conjunction with any sale of the
            Reel Property.
            Election of Remedies. Election by Lender to pursue any remedy shell not exclude pursuit of any other
            remedy, and an election to make expenditures or to take action to perform an obligation of Grantor under
            this Mortgage, after Grantor's failure to perform, shall not affect Lender's right to declare a default and
            exercise Its remedies. Nothing under this Mortgage or otherwise shell be construed so as to limit or restrict
            the rights and remedies available to Lender following an Event of Default, or In any way to limit or restrict
            the rights and ability of Lender to proceed directly against Grantor end/or against any other co-maker,
            guarantor, surety or endorser and/or to proceed against any other collateral directly or indirectly securing
            the Indebtedness.
            Attorneys' Fees; Expenses. If Lender institutes any suit or action to enforce any of the terms of this
             Mortgage, Lender shall be entitled to recover such sum as the court may adjudge reasonable as attorneys'
            fees at trial and upon any appeal. Whether or riot any court action Is involved, and to the extent not
            prohibited by law, all reasonable expenses Lender incurs that in Lender's opinion are necessary at any time
            for the protection of its interest or the enforcement of Its rights shall become a part of the Indebtedness
            payable on demand and shall bear interest at the Note rate from the date of the expenditure until repaid.
            Expenses covered by this paragraph include, without limitation, however subject to any limits under
            applicable law, Lender's attorneys' fees end Lender's legal expenses, whether or not there is a lawsuit,
            including attorneys' fees and expenses for bankruptcy proceedings (including efforts to modify or vacate
            any automatic stay or injunction), appeals, end any anticipated post-judgment collection services, the cost
            at searching records, obtaining title reports linctuding foreclosure reports), surveyors' reports, and appraisal
            fees and title Insurance, to the extent permitted by applicable law. Grantor also will pay any court costa, In
            addition to all other sums provided by law.
        NOTICES. Any notice required to be given under this Mortgage, including without limitation any notice of
        default and any notice of sale shell be given in writing, and shell be effective when actually delivered,
                                                                                                                      when
        actually received by telefaceImile (unless otherwise required by law), when deposited with a nationally
        recognized overnight courier, or, if mailed, when deposited In the United States mall, as first class, certified
                                                                                                                           or
        registered mail postage prepaid, directed to the addresses shown near the beginning of this Mortgage.
                                                                                                                          All
        copies of notices of foreclosure from the holder of any lien which has priority over this Mortgage shall be
                                                                                                                        sent
        to Lender's address, as shown near the beginning of this Mortgage. Any party may change Its address
                                                                                                                          for
        notices under this Mortgage by giving formal written notice to the other parties, specifying that the purpose
                                                                                                                           of
        the notice is to change the party's address. For notice purposes, Grantor agrees to keep Lender informed
                                                                                                                       at all
        times of Grantor's current address. Unless otherwise provided or required by law, if there Is more than
                                                                                                                         one
        Grantor, any notice given by Lender to any Grantor is deemed to be notice given to all Grantors.




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        ADDENDUM TO DEFINITION OF INDEBTEDNESS. The word "Indebtedness" shall include any and all
        obligations and liabilities of Borrower/Grantor to Lender, whether absolute or contingent, whether now existing
        or hereafter created, arising, evidenced or acquired (including all renewals, extensions and modifications thereof
        and substitutions therefor) under any agreement, device or arrangement designed to protect Borrower/Grantor
        from fluctuations of Interest rates, exchange rates or forward rates, Including, but not limited to,
        dollar-denominated or cross-currency exchange agreements, forward currency exchange agreements, interest
        rate caps, callers or floors, forward rate currency or interest rate options, puts, warrants, swaps, swaptions,
        U.S. Treasury locks and U.S. Treasury options, any other interest rate hedging transactions, such as, but not
        limited to, managing the Borrower's/Grantor's Interest rate risk associated with any pending or potential capital
        market transactions such as fixed rate bond issues and any and oil cancellations, buybacks, reversals,
        terminations or assignments of any of the foregoing.
        WAIVER OF RIGHT OF REDEMPTION AND REINSTATEMENT. NOTWITHSTANDING ANY OF THE PROVISIONS
        TO THE CONTRARY CONTAINED IN THIS MORTGAGE, GRANTOR HEREBY WAIVES, TO THE EXTENT
        PERMITTED UNDER 735 ILCS 5/15-18011b) OR ANY SIMILAR LAW EXISTING AFTER THE DATE OF THIS
        MORTGAGE, ANY AND ALL RIGHTS OF REDEMPTION ON GRANTOR'S BEHALF AND ON BEHALF OF ANY
        OTHER PERSONS PERMITTED TO REDEEM THE PROPERTY. GRANTOR HEREBY WAIVES ALL RIGHTS TO
        REINSTATEMENT PROVIDED BY ANY LAW NOW EXISTING OR HEREINAFTER ENACTED.
        MISCELLANEOUS PROVISIONS. The following miscellaneous provisions are a part of this Mortgage:
           A mendments. This Mortgage, together with any Related Documents, constitutes the entire understanding
           and agreement of the parties as to the matters sat forth in this Mortgage. No alteration of or amendment
           to this Mortgage shall be effective unless given in writing and signed by the party or parties sought to be
           charged or bound by the alteration or amendment.
           Annual Reports. If the Property is used for purposes other than Grantor's residence, Grantor shall furnish
           to Lender, upon request, a certified statement of net operating income received from the Property during
           Grantor's previous fiscal year in such form and detail as Lender shall require. "Net operating income" shell
           mean all cash receipts from the Property less all cash expenditures made in connection with the operation
           of the Property.
           Caption Headings. Caption headings in this Mortgage are for convenience purposes only and are not to be
           used to interpret or define the provisions of this Mortgage.
           Governing Law. This Mortgage will be governed by federal law applicable to Lender and, to the extent not
           preempted by federal law, the laws of the State of Illinois without regard to its conflicts of law provisions.
           This Mortgage has been accepted by Lender In the State of Illinois.
            No Waiver by Lender, Lender shell not be deemed to have waived any rights under this Mortgage unless
           such waiver is given in writing and signed by Lender. No delay or omisslpn on the pert of Lender in
            exercising any right shell operate es a waiver of such right or any other right. A waiver by Lender of a
            provision of this Mortgage shall not prejudice or constitute a waiver of Lender's right otherwise to demand
           strict compliance with that provision or any other provision of this Mortgage. No prior waiver by Lender,
            nor any course of dealing between Lender and Grantor, shall constitute a waiver of any of Lender's rights
           or of any of Grantor's obligations as to any future transactions. Whenever the consent of Lender is
           required under this Mortgage, the granting of such consent by Lender in any instance shall not constitute
           continuing consent to subsequent instances where such consent Is required end in all oases such consent
            may be granted or withheld in the sole discretion of Lender.
           Soverabllity. ifs court of competent jurisdiction finds any provision of this Mortgage to be Illegal, Invalid,
           or unenforceable as to any circumstance, that finding shell not make the offending provision Illegal, invalid,
           or unenforceable as to any other circumstance. If feasible, the offending provision shell be considered
           modified so that it becomes legal, valid and enforceable. if the offending provision cannot be so modified,
           it shall be considered deleted from this Mortgage. Unless otherwise required by law, the illegality,
           invalidity, or unanforceabIlity of any provision of this Mortgage shall not affect the legality, validity or
           enforceability of any other provision of this Mortgage.




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                                                        N1ORTGAGE
         Loan No: 150818                                (Continued)                                             Page 11

            Merger. There shall be no merger of the Interest or estate created by this Mortgage with any other Interest
            or estate in the Property at any time held by or for the benefit of Lender in any capacity, without the
            written consent of Lender.
            Successors and Assigns. Subject to any limitations stated in this Mortgage on transfer of Grantor's
            interest, this Mortgage shall be binding upon and inure to the benefit of the parties, their successors and
            assigns. If ownership of the Property becomes vested in a person other than Grantor, Lender, without
            notice to Grantor, may deal with Grantor's successors with reference to this Mortgage and the
            indebtedness by way of forbearance or extension without releasing Grantor from the obligations of this
            Mortgage or liability under the Indebtedness.
            Time is of the Essence. Time Is of the essence in the performance of thin Mortgage.
             Waive Jury. All parties to this Mortgage hereby waive the right to any jury trial In any action, proceeding,
            or counterclaim brought by any party against any other party.
            Waiver of Homestead Exemption. Grantor hereby releases and waives all rights end benefits of the
            homestead exemption laws of the State of Illinois as to all Indebtedness secured by this Mortgage.
        DEFINITIONS. The following capitalized words and terms shall have the fallowing meanings when used In this
        Mortgage. Unless specifically stated to the contrary, all references to dollar amounts shall mean amounts in
        lawful money of the United.States of America. Words and terms used in the singular shall include the plural,
        and the plural shall include the singular, as the context may require. Words and terms not otherwise defined In
        this Mortgage shall have the meanings attributed to such terms in the Uniform Commercial Code:
            Borrower. The word "Borrower" means 650 Church Street, LLC and includes all co-signers and co-makers
            signing the Note and all their successors and assigns.
            Default. The word "Default" means the Default set forth in this Mortgage in the section titled "Default".
           Environmental Laws. The words "Environmental Laws" mean any and all state, federal and local statutes,
           regulations and ordinances relating to the protection of human health or the environment, Including without
           limitation the Comprehensive Environmental Response, Compensation, and Liability Act of 1980, es
           amended, 42 U.S.C. Section 9601, at seq. (n CERCLA"), the Superfund Amendments and Reauthorization
           Act of 1988, Pub. L. No. 99-499 ("SARA"). the Hazardous Materials Transportation Act, 49 U.S.C.
           Section 1801, et seq., the Resource Conservation and Recovery Act, 42 U.S.C. Section 6901, et seq., or
           other applicable state or federal laws, rules, or regulations adopted pursuant thereto.
           Event of Default. The words "Event of Default" mean any of the events of default set forth in this
           Mortgage in the events of default section of this Mortgage.
           Grantor. The word "Grantor" means 650 Church Street, LLC.
           Guarantor. The word "Guarantor" means any guarantor, surety, or accommodation party of any or
                                                                                                         all of
           the Indebtedness.
           Guaranty. The word "Guaranty" means the guaranty from Guarantor to Lander, Including without limitation
           a guaranty of all or part of the Note.
           Hazardous Substances. The words "Hazardous Substances" mean materials that, because of their
           quantity, concentration or physical, chemical or infectious characteristics, may cause or pose a present or
           potential hazard to human health or the environment when improperly used, treated, stored, disposed
                                                                                                                    of,
           generated, manufactured, transported or otherwise handled. The words "Hazardous Substances"
                                                                                                              ere used
           In their very broadest sense and Include without limitation any and all hazardous or toxic substances,
           materials or waste as defined by or listed under the Environmental Laws. The term "Hazardous
           Substances" also Includes, without limitation, petroleum and petroleum by-products or any fraction thereof
           and asbestos.
           Improvements. The word "Improvements" means all existing and future improvements,
                                                                                                       buildings,
           structures, mobile homes affixed on the Real Property, facilities, additions, replacements and
                                                                                                            other




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                                                          MORTGAGE
          Loan No: 150816                                 (Continued)                                               Page 12

             construction on the Real Property.
            Indebtedness. The word "Indebtedness" means all principal, interest, and other amounts, costs and
            expenses payable under the Note or Related Documents, together with all renewals of, extensions of,
            modifications of, consolidations of and substitutions for the Note or Related Documents and any amounts
            expended or advanced by Lender to discharge Grantor's obligations or expenses incurred by Lender to
            enforce Grantor's obligations under this Mortgage, together with interest on such amounts as provided
                                                                                                                     in
            this Mortgage. Specifically, without limitation, Indebtedness includes the future advances set forth in the
            Future Advances provision, together with all interest thereon and all amounts that may be indirectly
            secured by the Cross-Collateralizatlon provision of this Mortgage.
            Lender, The word "Lender" means National City Bank, its successors and assigns.
             Mortgage. The word "Mortgage" means this Mortgage between Grantor and Lender.
             Note. The word "Note" means the promissory note dated November 29, 2007, in the original principal
            amount of $3,500,000.00 from Grantor to Lender, together with all renewals of, extensions of,
             modifications of, refinancings of, consolidations of, end substitutions for the promissory note or agreement.
            The interest rats on the Note is a variable Interest rate based upon an index. The index currently is
            3.000% per annum. Payments on the Note are to be made in accordance with the following payment
            schedule: The unpaid principal balance of this Note shall at alt times bear interest at a rate equal to the
            Contract Rate, provided, that so long as any principal of or accrued Interest on this Note la overdue, all
            unpaid principal of this Note and all overdue interest on that principal shall bear interest at a fluctuating rate
            equal to two percent (2%) per annum above the rate that would otherwise be applicable, but In no case
            less than two percent 12%) per annum above the Prima Rate; provided further, that in no event shall
                                                                                                                          any
            principal of or interest on this Note bear interest at any time after Maturity at a lesser rate than the rate
            applicable thereto immediately after Maturity. The "Contract Rate" shall at all times be a fluctuating
                                                                                                                          rate
            equal to 1.90% per annum plus the Index, provided, that In the event the index is unavailable us a result of
            Lender's good faith determination of the occurrence of one of the events specified in the section labeled
            "LIBOR Unavailable", the "Contract Rate" shall be a fluctuating rate equal to the Prime Rate.

            interest on this Note shall be payable in arrears on December 29, 2007, and on the 29th day of
                                                                                                              each
            month thereafter, at Maturity, and on demand thereafter. The Index rate shell be adjusted by Lender,
                                                                                                                 as
            necessary, at the and of,esch Banking Day during the term hereof.

            The principal of this Note shall be repayable in one (1) payment on November 29, 2008.

            If any payment is required to be made on a day which is not a Banking Day, such payment shell
                                                                                                                be due on
            the next immediately following Banking Day and interest shall continue to accrue at the applicable
                                                                                                                 rate
            LIBOR Unavailable. Notwithstanding any provision or inference to the contrary, the Contract
                                                                                                            Rate shall not
            be based on the Index if Lender shall determine in good faith that (a) any government
                                                                                                         al authority has
            asserted that it is unlawful for Lender to fund, make, or maintain loans bearing interest based on
                                                                                                               the Index,
            or (b) circumstances effecting the market selected by Lander for the purpose of funding the loan
                                                                                                                evidenced
            hereby make it impracticable for Lender to determine the index. Lender's books and records
                                                                                                                  shall be
            conclusive (absent obvious error) as to whether Lender shall have determined that the
                                                                                                         Contract Rate is
            prohibited from being based on The Index, If the Contract Rate is prohibited from being based on
                                                                                                                the Index
            as a result of the occurrence of one of the events referenced in this section, then, and In
                                                                                                         each such case,
            notwithstanding any provision or Inference to the contrary, the then outstanding principal
                                                                                                           balance of this
            Note shell, upon Lender giving Borrower notice of Lender's determination of the occurrence
                                                                                                              of such an
            event, bear Interest at a Contract Rate based on the Prime Rate including the applicable
                                                                                                        spread described
            above.
            Borrower shell pay Lender, on the date of this Note, a non-refundable closing fee In
                                                                                                  an amount equal to
            Seventeen Thousand Five Hundred and 00/100 dollars ($17,500.0
                                                                            0). If the index increases, the payments
            tied to the index, and therefore the total amount secured hereunder, will increase.
                                                                                                 Any variable Interest




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                                                         MORTGAGE
         Loan No: 150810                                 (Continued)                                               Page 13

            rate tied to the index shall be calculated as of, and shall begin on, the commencement date Indicated for
            the applicable payment stream. NOTICE: Under no circumstances shall the interest rate on this Mortgage
            be more than the maximum rate allowed by applicable law. NOTICE TO GRANTOR: THE NOTE CONTAINS
            A VARIABLE INTEREST RATE.
            Personal Property. The words "Personal Property" mean all equipment, fixtures, and other articles of
            personal property now or hereafter owned by Grantor, and now or hereafter attached or affixed to the Real
            Property; together with ell accessions, parts, and additions to, all replacements of, and all substitutions far,
            any of such property; and together with all proceeds (including without limitation all insurance proceeds
            and refunds of premiums)from any sale or other disposition of the Property.
            Property. The word "Property" means collectively the Real Property and the Personal Property.
            Real Property. The words "Real Property" mean the real property, interests and rights, es further described
            In this Mortgage.
           Related Documents. The words `Related Documents" mean all promissory notes, credit agreements, loan
           agreements, environmental agreements, parents% security agreements, mortgages, deeds of trust,
           security deeds, collateral mortgages, end all other instruments, agreements end documents, whether now
           or hereafter existing, executed in connection with the Indebtedness.
           Rents. The word "Rents" means all present and future rents, revenues, income, issues, royalties, profits,
           and other benefits derived from the Property.




        GRANTOR ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS MORTGAGE, AND GRANTOR
        AGREES TO ITS TERMS.

        GRANTOR:

        650 CHURCH STREET, LLC

        By:
         "—tcrardo Chacin, Manager of 6E0 Church Street, LLC




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                                                              MORTGAGE
          Loan No: 150816                                     (Continued)                                          Page 14



                                  LIMITED LIABILITY COMPANY ACKNOWLEDGMENT


         STATE OF         /4.4/ VaI5                                                    )
                                                                                        )SS
         COUNTY OF        co(
                            ol                                                          )
          On this  21      Ch           day of   klo ll G=ARer                       ,7
                                                                                      ,o7
                                                                                        before me, the undersigned Notary
         Public, personally appeared Gerardo Chacin, Manager of 650 Church
                                                                                   Street, LLC, and known to me to be a
          member or designated agent of the limited liability company that executed
                                                                                      the Mortgage and acknowledged the
         Mortgage to be the free and voluntary act and deed of the limited liability
                                                                                      company, by authority of statute, its
         articles of organization or its operating agreement, for the uses
                                                                           and purposes therein mentioned, end on oath
         stated that ha or she is authorized to execute this Mortgage and
                                                                           in fact executed the Mortgage on behalf of the
         limited .
                 /
                 ilablii
                   h     ,        .

         By             companyg--
                                 V                                             Residing at
                                                                                             AVOW.,
         Notary Public in and for the State of                      OFFI0IAL.E1EAL.
                                                               ARNOD)E.itaHOLEWLIKI
         My commission expires                                Notary Publio-etatecf Mole
                                                           -MyeemmissionETkasNav08,2010




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           RECORDATION REQUESTED BY:
                                                                                       IlCME 1110111111111111111
                                                                                      Imapea 0487091E004 Type MTA
                                                                                      Recorded. 02/02/2010 at 00:06:08 AM
              PNC Bank, National                                                      Reoelpt#: 2010-00044502
              Association                                                             Total An: 020.00 Pape 1 of 4
                                                                                      IL Rental Housing Fund: $10.00
              One North Franklin, Suite                                               Lake Opunty IL Recorder
             3600                                                                     Mary Ellen Vanderventer Recorder
              Chicago,IL 80808                                                        N1°6569274
          WHEN RECORDED MAIL TO:
            PNC Bank,National
            Association
            500 First Avenue, MaRotor):
            P7-PFSC-05-X
            Pittsburgh,PA 15219

          SEND TAX NOTICES TO:
            050 Church Street, LLC
            850 Church Street
             Lake Zurich,IL 60047
                                                                                               FOR RECORDER'S USE ONLY



          This Modification of Mortgage prepared by:
                  Barb Sanders on behalf of PNC Bank, National Association
                 PNC Bank, National Association
                 One North Franklin, Suite 3600
                 Chicago,IL 80806


                                       FIRST MODIFICATION OF MORTGAGE
         THIS MODIFICATION OF MORTGAGE dated Zitivactrti 2O &N D,le made and executed between 650 Church
         Street, LLC,an Illinois limited liability company,whose address is 650 Church Street, Lake Zurich,IL 80047
        (referred to below as °Grantor")and PNC Bank, National Association, whose address le One North Franklin,
         Suite 3800, Chicago,IL 60808(referred to below as *Lender").
         MORTGAGE. Lender and Grantor have entered Into a Mortgage dated November 29, 2007(the °Mortgage")
                                                                                                                          which
         has been recorded In Lake County,State of Illinois, as follows:
            RECORDED DECEMBER 3,2007 IN DOCUMENT NO.8276380 IN LAKE COUNTY RECORDS.
        REAL PROPERTY DESCRIPTION. The Mortgage covers the following described real property located In Lake
        County, State of Illinois:
            See Exhibit"A", which Is attached to this Modification and made a part of this Modification as If fully set forth
            herein.
         The Real Property or Its address is commonly known as 660 Church Street, Lake Zurich, IL 60047, The Real
         Property tax Identification number is 14-10-100-016-0000, 14-16-100-017-000 and 14-18-100-032-0000.
         MODIFICATION. Lender and Grantor hereby modify the Mortgage by deleting the definition of"Note" to Its entirety
         and substituting the following in its stead:
                "Note. The word "Note" means that certain Promissory Note dated to be effective as of




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                   December 29, 2008, as modified from time to time and as amended and restated by that
                   certain Third Amended and Restated Promissory Note dated the date hereof in the original
                   amount of $3,393,080.00 from Borrower/Grantor to Lender, together with all renewals of,
                   extensions of, modifications of, refinancings of, consolidations of, and substitutions for the
                   promissory note or agreement"


           CONTINUING VALJDITY. Except as expressly modified above,the terms of the original Mortgage shall remain
           unchanged and In full force and effect and are legally valid, binding, and enforceable In accordance with their
           respective terms. Consent by Lender to this Modification does not waive Lender's right to require strict performance
          of the Mortgage as changed above nor obligate Lender to make any future modifications. Nothing in this Modification
          shall constitute a satisfaction of the promissory note or other credit agreement secured by the Mortgage(the °Note").
           It is the intention of Lender to retain as liable all parties to the Mortgage and all parties, makers and endorsers to the
           Note, including accommodation parties, unless a party is expressly released by Lender in writing. Any maker or
          endorser, including accommodation makers, shall not be released by virtue of this Modification. If any person who
         signed the original Mortgage does not sign this Modification, then all persons signing below acknowledge that this
          Modification is given conditionally, based on the representation to Lender that the non-signing person consents
                                                                                                                                to the
         changes and provisions of this Modification or otherwise will not be released by it. This waiver applies not only to any
          Initial extension or modification, but also to all such subsequent actions.
         GRANTOR ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS MODIFICATION OF MORTGAGE
         AND GRANTOR AGREES TO ITS TERMS. THIS MODIFICATION OF MORTGAGE IS DATED
         '
         Z  'amtary          7Q
                              [  0.

         GRANTOR:



         6130 CHURCH STREET,LLC
                                            •
         By:
         Gerardo Chacln, Manager of 850 Church Street, LLC




         LENDER:


         PNC BANK,NATIONAL ASSOCIATION

         x                     /e
                                mu'
                                  134
                                    )
         Sh la Kerins, Corporate Banking Officer




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        fi

                                       LIMITED LIABILITY COMPANY ACKNOWLEDGMENT

             STATE OF        illirlD i 0
                                                                                                         )ss
             COUNTY OF Vale-


             On this        70141               day of     Ja-YU.AOLYV              91)11)
                                                                                      ,           before me,the undersigned Notary
             Public, personally appeared Gerardo Chacin, Manager of 650 Church Street, LLC,and known to me to be a
             member or designated agent of the limited liability company that executed the Modifbation of Mortgage and
             acknowledged the Modification to be the free and voluntary act and deed of the limited liability company, by authority
             of statute, Its articles of organization or Its operating agreement, for the uses and purposes therein mentioned, and on
             oath stated that he or she la authorized to execute this Modification and in fact executed the Modification on behalf of
             the limited liability co

             BY         •                                                    Residing at dig CI /4                   ,
                                                                                                              f• 11114;
                                                                                                                      - igiOAD     (1,1005g1
             Noticiy Public in and for the State of f
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             My commission expires              7
                                                0- /D
                                                                                                            NOTARYMONICA   KAPLAN
                                                                                                                   PUBLIC STATE OF ILLIN(
                                                                                                                   My Commission Ex Tres 0311712(

                                                    LENDER ACKNOWLEDGMENT

         STATE OF            MI Oi5

                                                                                                        )SS
         COUNTY OF              COO k-
                            , i V
         On this           fciA         day of illit•—ak ....f......           .020/0 before me,the undersigned Notary
                                                                 .  .7
         Public, personally appeared Shelia Kent C! and known ,J, me to be the Corporate Banking Officer, authorized agent
         for PNC Bank, National Association tha executed the within and foregoing instrument and acknowledged said
         instrument to be the free and voluntary act and deed ofPNC Bank, National Association,duty authorized by
                                                                                                                        PNC
         Bank, National Association through its board of directors or otherwise,for the uses and purposes therein
         mentioned, and on oath stated that he or she is authorized to execute this said instrument and In fact executed
                                                                                                                         this
         said ins ment on behalf of PNC Bank, National Association.

         By.                                                                Residing at   /Minth &aid4;)
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                   Public In and for the State of 3:11/ a     0I S
         My commission expires              Ay      /7,.
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                                                                                              11114101111111113.10041112117111
         LASER PRO Lending, Ver. 5.46.00.004 Copr. Harland Financial Solutions, Inc. 1997,2009. All Rights Reserved.
                                                                                                                     -
                                  IL cACFIWINWH\CFN.PL\Q201.F0 TR-38728 PR-181 (M)




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                                                      EXHIBIT A

                                                LEGAL DESCRIPTION


                  PARCEL 1s

                 THAT PART OF LOT 5 YE SCHOOL TRUSTEES, SUBDIVISION OP
                                                                       SECTION 16, TOWNSHIP 43
                 WORTH, RANGE 10, EAST OP THE THIRD PRINCIPAL MERIDIAN, DESCRIBED
                                                                                  AA FOLLOWS:
                 COMMENCING AT THE NORTHEAST CORNER OF SAID LOT S FOR A POINT
                                                                              OF BEGINNING; TRANCE
                 WEST OE TEA MATH LINE OF SAID LOT 5, 1134.88 MET TO
                                                                       TEE CASTER LINE OF STATE
                 ROUTE 63; THENCE SOUTHWESTERLY ALONG SAID CENTER LING OP ROUTE
                                                                                63, 132.91 PEET;
                 TOME SOUTHEASTERLY OKA LINE FM/RIM ANGLE OF 90 DEGREES WITH THE LAST SAID
                 CANTER LINE OF HIGHWAY, 336.61 PUT; THENCE EAST ALONG A LINE
                                                                               PARALLEL NITA TES
                 PAID NORTH LINE OF SAID LOT 5 AFORESAID, 983.63 FRET
                                                                      TO A POINT ON TEE EAST LINE OF
                 SAID LOT LYING 327.78 PEST SOUTH PROM TAX POINT OP MINIM; THENCE NORTH
                                                                                            oil Sam
                 EAST LIFE OP SAID LOT 5, 337.78 FEET TO THE POINT OF BEGINNING, IN LANE
                                                                                         COUNTY.
                 ILLINOIS.

                 PARCEL 2:

                 THAT PART OF LOT 5 IN SCHOOL TRUSTIES' SUBDIVISION OF SECTION 16, TOWNSHIP 43
                 NORTH, RANGE 10, MAST OF THE THIRD PRINCIPAL MERIDIAN, DERICEISIM AS FOLLOWS;
                 Lummhmara AT A POINT ON TEE EAST LIRE OF SAID LOT 6, 327.71 FRED SOUTH AS MEASURED
                 ON SAID EAST LIDS FROM TEE NORTHEAST OORNIR OP SAID LOT 5 FOR A POINT OF
                                                                                           BEOINITIGE
                 TEENCE NEST ALOIS A LIRE PARALLEL KITH THE NORTH LINE OF SAID LOT S, A DISTANCE OF
                 983.63 FEET: THENCE SOUTHEASTERLY 87.37 FEET TO A POINT ON A LINE THAT LIES 387.76
                 FEET Bourn or AND PARALLEL WITH THE SAID NORTH LINE or SAID LOT So SAID POINT BUNG
                 ALSO 980.62 FEET, AS MEASURED Ow SAID PARALLEL um, FROM TEE SAID BAST lams OF LOT
                 5; THENCE EAST ALONG LAST SAID pAAAust LIMB, A DISTANCE 920.52 FEET TO A POINT ON
                 SAID EAST LINE OF LOT 5 LYING 60.0 FEET SOUTH FROM THE POINT Of HEOINNIES; TEO=
                 NORTH ALONG SAID EAST LINE Of LOT 5, A DISTANCE OF 60.0 FEET TO PEA POINT OF
                 BEGINNING. rw LASE COUNTY, ILLINOIS.

                 PARCEL 3t

                 TEAT PART OF LOT 5 IN SCHOOL TRUSTEES' SUBDIVISION OP SECTION 16, TOWNSHIP 43
                 NORTH, RANGE 10, EAST OP TUX TURD PRINCIPAL MERIDIAN, DESCRIBED AS FOLLOWS:
                 BEGINNING AT A'POINT ON THE EAST LINE OF SAID LOT 5, 387.78 FIXT SOUTH (AS MASON=
                 ON SAID MST LINE) FROM TH2 NORTH AST CORNER OF SAID LOT S FOR A POINT OP
                 SEDINNINOt THENCE WEST AMINO A LINE PARALLEL NITS THEE NORTH LINE OF SAID LOT s, A
                 DISTANCE OF 920.52 FEET; THENCE NORTHWESTERLY ALONG A LINE A DISTANCE OP 423.98
                 FELT TO A POINT ON THX OEM LINE OF NORTH CHOICE STREET WINO 132.91 FRET
                 SOUTHWESTERLY (AS MEASURED ON SAID CENTER LINE) FROM THE SON OF RAID
                 CENTXR LINE SITE UNSAID NORTH LINE OF LOT Si THINCX SOMMERS= ALONG THE BAIT)
                 CENT= LINE OW NORTH CHURCH STREET. A DISTANCE OF 20.0 FEET; THENCE SOUTHEASTERLY
                 AT RIGHT MUMS TO SAID DENTEE LINE OF NORTH CHURCH STREET, A DISTANCE OF 490.17
                 FEET; TRANCE EAST ALONG A LINE PARALLEl. WITH AND 447.78 SNIT SOOTS OF SAID Rom
                 LINE OF LOT S. A DISTANCE OP 885.74 FEET TO A POINT ON THE SAID *AST LIFE OF LOT S
                 LYING 60.0 FEET SOUTH PROM THE POINT OF SIMINNEE; TONICS NORTH ALONG SAID EAST
                 LING OF LOT 5, A DISTANCE OP 60.0 FEET TO THE POINT OP HEOINNIINO, IN LAKE COUNTY,
                 rumors.




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                      EXHIBIT B
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                                                        PROMISSORY NOTE

Borrower:      650 Church Street, LLC                                       Lender:         National City Bank
               660 Church Street                                                            Chicago
               Lake Zurich, IL 60047                                                        One North Franklin, Suite 3600
                                                                                            Chicago, IL 60606


 Principal Amount: 13,500,000.00                                                                       Date of Note: November 29, 2007
 PROMISE TO PAY. 650 Church Street, LLC I"Borrower") promises to pay to National City Bank ("Lander"), or order, in lawful money of the
 United States of America, the principal amount of Three Million Ave Hundred Thousand & 00/100 Dollars 183,500.000.00), together with
 Interest on the unpaid principal balance from November 29, 2007, until paid in full.
 PAYMENT. Subject to any payment changes resulting from changes In the Index, Borrower will pay this loan In accordance with the following
 payment schedule:
     The unpaid principal balance of this Note shall at all times bear interest at a rata equal to the Contract Rate, provided, that so long as any
     principal of or accrued interest on this Note Is overdue, all unpaid principal of this Note and all overdue interest on that principal shall bear
     interest at a fluctuating rate equal to two percent (2%) per annum above the rate that would otherwise be applicable, but in no case less
     than two percent 12%) par annum above the Prime Rate: provided further, that in no event shall any principal of or interest on this Note
     bear interest at any time after Maturity at a lesser rate than the rate applicable thereto immediately after Maturity. The "Contract Rate"
     shall at all times be a fluctuating rate equal to 1.90% par annum plus the Index, provided, that in the event the Index to unavalloble as a
     result of Lender's good faith determination of the occurrence of one of the events specified in the section labeled "LIBOR Unavailable", the
     "Contract Rate" shall be a fluctuating rate equal to the Prime Rate.

     Interest on this Note shall be payable in arrears on December 29, 2007, and on the 29th day of each month thereafter, at Maturity, and on
     demand thereafter. 'The Index rate shall be adjusted by Lender, as necessary, at the end of each Banking Day during the term hereof.

     The principal of this Note shall be repayable in one Ill payment on November 29, 2005.

     If arty payment is required to be made on a day which Is not a Banking Day, such payment shall be due on the next immediately following
     Banking Day and Interest shall continue to accrue at the applicable rata
     LIBOR Unavailable. Notwithstanding any provision or Inference to the contrary, the Contract Rate shall not be based on the Index if Lender
     shall determine in good faith that (a) any governmental authority has asserted that it is unlawful for Lender to fund, make, or maintain loans
     bearing interest based on the Index, or lb) circumstances affecting the market selected by Lender for the purpose of funding the loan
     evidenced hereby intake it impracticable for Lender to determine the index. Lander's books and records shell be conclusive (absent obvious
     error► as to whether Lender shall have determined that the Contract Rate is prohibited from being based on the index. II the Contract Rate
     is prohibited from being based on the Index as a result of the occurrence of one of the events referenced In this section, then, and in each
     such case, notwithstanding any provision or inference to the contrary, the then outstanding principal balance of this Note shall, upon
     Lender giving Borrower notice of Lender's determination of the occurrence of such an event, bear Interest at a Contract Rate based on the
     Prime fiats including the applicable spread described above.
     Borrower shall pay Lender, on the date of this Note, a non-refundable closing lee in an amount equal to Seventeen Thousand Five Hundred
     and 00/100 dollars ($17,500.00).
 Unless otherwise agreed or required by applicable law, payments will be applied first to any accrued unpaid interest; then to principal; then to
 any unpaid collection costs; and then to any late charges. The annual interest rate for this Note is computed on a 365/360 basis; that is, by
 applying the ratio of the annual interest rote over a year of 360 days, multiplied by the outstanding principal balance, multiplied by the actual
 number of days the principal balance is outstanding. Borrower will pay Lender at Lender's address shown above or at such other place as
 L ender may designate In writing.
  V ARIABLE INTEREST RATE. The interest rate on this Note is subject to change from time to time based on changes in en index which is the
 " Ono Month LIBOR". "Ono Month LIBOR" means, with respect to a loan, the rate per annum )rounded upwards, if necessary, to the next higher
 1 /16 of 1%) determined by Lender and.equal to the average rate per annum at which deposits (denominated in United States dollars) in an
  amount similar to the principal amount of that loan and with a maturity of one (1) month aro offered at 11:00 A.M. London time (or es soon
  thereafter as practicable) on the Date of Reference by banking institutions in the London, United Kingdom market, as such interest rate is
 referenced end reported by the British Bankers Association on Reuters Screen LIBOR01 Page or, if the same Is unavailable, any other generally
  accepted authoritative source of such interest rate as Lender may reference from time to time (the "Index"). Lender will tell Borrower the
 current Index rata upon Borrower's request. The Interest rate change will not occur more often than each change in Ono Month LIBOR.
 Borrower understands that Lender may make loans based on other rates as well. The interest rate to bo applied to the unpaid principal balance
 during this Note will be at a rate of 1.900 percentage points over the Index. NOTICE: Under no circumstances will the interest rate on this
 Note be more than the maximum rate allowed by applicable law. Whenever Increases occur In the interest rate, Lender, at Its option, may do
  one or more of the following: (A) increase Borrower's payments to ensure Borrower's loan will pay off by its original final maturity date,
                                                                                                                                                 191
 increase Borrower's payments to cover accruing interest, IC) increase the number of Borrower's payments, and (D) continue Borrower's
 payments at the same amount and increase Borrower's final payment.
 PREPAYMENT PENALTY. Upon prepayment of this Note, Lender is entitled to the following prepayment penalty: Borrower shall have the
                                                                                                                                               right
 to prepay the principal of this Note in whole or in part, provided, that (a) each such prepayment shall be in the principal sum of One Thousand
 and no/100 dollars ($1,000.00) or any integral multiple thereof or an amount equal to the then aggregate unpaid principal balance of this Note.
 lb) to the extent principal is payable in Installments, each such prepayment shall be applied to the installments of this Note in the inverse order
 of their respective due dates, and (c) concurrently with the prepayment of the entire unpaid principal balance of this Note, Borrower shall prepay
 the accrued interest on the principal being prepaid, Each prepayment of this Nate may be made without premium or penalty. Except for the
 f oregoing, Borrower may pay all or o portion of the amount owed earlier than it is due. Early payments will net, unless agreed to by
                                                                                                                                           Lender in
 writing, relieve Borrower of Borrower's obligation to continue to make payments under the payment schedule. Rather, early payments will
 reduce the principal balance due and may result in Borrower's making fewer payments. Borrower agrees not to send lender payments marked
 "paid in full", "without recourse", or similar language. II Borrower sends such a payment, Lender may accept it without losing any of Lender's
 rights under this Note, and Borrower will remain obligated to pay any further amount owed to Lender. All written communications concerning
 disputed amounts, including any check or other payment instrument that indicates that the payment constitutes "payment in full" of the amount
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                                                          PROMISSORY NOTE
 Loan No: 150816                                             (Continued)                                                                    Page 2

 owed or that is tendered with other conditions or limitations or as full satisfaction of a disputed amount must be Melted or delivered to: National
 City Bank, Chicago, One North Franklin, Suite 3600, Chicago, IL 60606.
 LATE CHARGE. II a payment Is 10 days or more tale, Borrower will be charged 5.000% of the unpaid portion of the regularly scheduled
 payment or $20.00. whichever Is greater.
 INTEREST AFTER DEFAULT. Upon default, including failure to pay upon final maturity, the interest rate an this Note shall be increased by
 adding a 2.000 percentage point margin ("Default Rate Margin"). The Default Rate Margin shall also apply to each succeeding Interest rate
 change that would have applied had there been no default, However, in no event will the interest rate exceed the maximum interest rate
 limitations under applicable law,
 DEFAULT. Each of the following shall constitute an event of default ("Event of Default") under this Note:
    Payment Default. Borrower tails to make any payment when due under this Note.
    Other Defaults. Borrower falls to comply with or to perform any other term, obligation, covenant or condition contained in this Note
                                                                                                                                         or in
    any of the related documents or to comply with or to perform any term, obligation, covenant or condition contained in any other agreement
    between Lender end Borrower.
     False Statements. Any warranty, representation or statement made or furnished to Lander by Borrower or on Borrower's behalf under this
     Note or the related documents is false or misleading In any material respect, either now or at the time made or furnished or becomes false
     or misleading at any time thereafter.
     Death or Insolvency. The dissolution of Borrower (regardless of whether election to continue Is medal, any member withdraws
                                                                                                                                               from
     Borrower, or any other termination of Borrower's existence as a going business or the death of any member, the Insolvency
                                                                                                                                      of Borrower,
     the appointment of a receiver for any port of Borrower's properly, any assignment for the benefit of creditors, any type of creditor workout,
     or the commencement of any proceeding under any bankruptcy or Insolvency laws by or against Borrower.
     Creditor or Forfeiture Proceedings. Commencement of foreclosure or forfeiture proceedings, whether by judicial proceeding,
                                                                                                                                          self-help,
     repossession or any other method, by any creditor of Borrower or by any governmental agency against any collateral
                                                                                                                                 securing the
     This includes a garnishment of any of Borrower's accounts, Including deposit accounts, with Lender. However, this Event of Default loan.
                                                                                                                                               shall
     not apply if there Is a good faith dispute by Borrower as to the validity or reasonableness of the claim which is the basis of the creditor
                                                                                                                                                  or
     forfeiture proceeding and if Borrower gives Lender written notice of the creditor or forfeiture proceeding end deposits with Lender
                                                                                                                                         monies or
     a surety bond for the creditor or forfeiture proceeding, in an amount determined by Lender, in its sole discretion, as being en adequate
     reserve or bond for the dispute.
     Events Aft acting Guarantor. Any of the preceding events occurs with respect to any Guarantor of any of the indebtedness
                                                                                                                                             or any
     G uarantor dies or becomes Incompetent, or revokes or disputes the validity of, or liability under, any guaranty of the
                                                                                                                                      Indebtedness
     evidenced by this Note.
     Adverse Change. A material adverse change occurs in Borrower's financial condition, or Lender believes the prospect
                                                                                                                         al payment or
     part ormance of this Note is impaired.
LENDER'S RIGHTS. Upon default, Lender may declare the entire unpaid principal balance under this Note and all accrued
                                                                                                                                     unpaid interest
i mmediately due, and than Borrower will pay that amount; provided, however that in the case of en Event of Default of the type described
                                                                                                                                              in the
"Insolvency" subsection above, such acceleration shell be automatic end not optional.
ATTORNEYS' FEES; EXPENSES. Lender may hire or pay someone else to help collect this Note if Borrower does
                                                                                                                       not pay. Borrower will pay
Lender that amount. This includes, subject to any limits under applicable law, Lender's attorneys' fees and Lender's legal
                                                                                                                               expenses, whether or
not there is a lawsuit, including attorneys' lees, expanses for bankruptcy proceedings linciuding efforts to modify or vacate
                                                                                                                                 any automatic stay
or Injunction), and appeals. If not prohibited by applicable law, Borrower also will pay any court costs, in addition to all other
                                                                                                                                   sums provided by
law,
JURY WAIVER. Lender and Borrower hereby waive the right to any Jury trial In any action, proceeding, or counterclaim
                                                                                                                     brought by either Lender
or Borrower against the other.
 G OVERNING L'AW. This Note will be governed by federal law applicable to Lender and, to the extent not preempted
                                                                                                                          by federal low, the laws of
 the State of Illinois without regard to its conflicts of law provisions. This Note has been accepted by Lender in the State
                                                                                                                             of Illinois.
CONFESSION OF JUDGMENT. Borrower hereby Irrevocably authorizes and empowers any attorney-at-law to appear in
                                                                                                                             any court of record end
In confess judgment against Borrower for the unpaid amount of this Note as evidenced by an affidavit signed by an
                                                                                                                            officer of Lender setting
forth the amount than due, attorneys' fees plus costs of suit, and to release all errors, and waive all rights of appeal.
                                                                                                                              11 a copy of this Note,
verified by an affidavit, shall have been filed in the proceeding, it will not be necessary to file the original
                                                                                                                 as a warrant of attorney, Borrower
 waives the right to any stay of execution and the benefit of all exemption laws now or hereafter In effect. No single
                                                                                                                            exercise of the foregoing
 warrant and power to confess judgment wi►l be deemed to exhaust the power, whether or not any such exercise shall be
                                                                                                                              held by any court to be
invalid, voidable, or void; but the power will continua undiminished end may be exercised from lime to
                                                                                                                  lime as Lender may elect until all
amounts owing on this Note have bean paid in full.
DISHONORED ITEM FEE. Borrower will pay a fee to Lander of $25.00 if Borrower makes a payment on Borrower's
                                                                                                                              loan and the check or
preauthorized charge with which Borrower pays is later dishonored.
COLLATERAL. Borrower acknowledges this Note is secured by any and all mortgages, security agreements, assignments,
                                                                                                                                     loan agreements,
pledge agreements and any other document or instrument evidencing a security interest or other lien in Inver of
                                                                                                                           Lender and executed and
delivered by Borrower or any third party as security for payment of this Note and/or all indebtedness of Borrower
                                                                                                                                 to Lender, whether
contemporaneous with the execution of this Note or at any other time, Collateral securing other obligations of Borrower
secure this Note.                                                                                                                 to Lender may also

SHARING INFORMATION. Borrower hereby authorizes Lender to share all credit and ilnencial information relating to
parent company and with any subsidiary or affiliate of Lender or of Lender's parent company.                              Borrower with Lender's
FINANCIAL INFORMATION. Borrower will furnish to Lender, et Borrower's expense, promptly upon each request
                                                                                                                    of Lender, such information in
writing regarding Borrower's financial condition, income taxes, properties, business operations, if any, and
                                                                                                             pension plans, If any, as Lender may
f rom time to time reasonably request, prepared, in the case of financial information. in accordance with generally
                                                                                                                    accepted accounting principles
consistently applied end otherwise in form end detail satisfactory to Lender.
FINAL AGREEMENT. This Note and the related documents set Iorth the entire agreement between the parties
contemplated hereby end supercede all prior agreements, commitments, discussions, representations end                  regarding the transactions
                                                                                                              understandings,
oral, and any and all contemporaneous oral agreements, commitments, discussions, representations and understandings whether written or
                                                                                                                              between the parties
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                                                               PROMISSORY NOTE
      Loan No: 160816                                             (Continued)                                                                    Page 3

      relating to the subject matter hereof.
      DIRECT DEBIT. The following is applicable If checked by Borrower; I I Payments shall be paid by Borrower by debiting Borrower's
      account, account number                  an the due data.
      DEFINITIONS. As used in this Note, except where the context clearly requires otherwise,
      "Bank Debt" means, collectively, all Debt to Lender, whether incurred directly to Lender or acquired by it by purchase, pledge, or otherwise, end
      whether participated to or horn Lender in whole or in part;
      "Banking Day" means any day (other than any Saturday, Sunday or legal holiday) on which Lender's banking office Is open to the public for
      carrying on substantially all of its banking functions;
      "Banking Office Time" means, when used with reference to any time, that time determined at the location of Lender's banking office;
      "Data of Reference" means, on any Banking Day, a date which is two 12) Eurodollar Banking Days prior to the Banking Day in question;
      "Debt" means, collectively, all obligations of the Person or Persons in question, including, without limitation, every such obligation whether
      owing by one such Person alone or with one or more other Persons in a joint, several, or joint and several capacity, whether now owing or
      hereafter arising, whether owing absolutely or contingently, whether created by lease, loan, overdraft, guaranty of payment, or other contract,
      or by quasi-contract, tort, statute, other operation of law, or otherwise;
      "Eurodollar Banking Day" means any Banking Day on which banks In the London interbank Market deal in United States dollar deposits and on
      w hich banking institutions are generally open for domestic and international business at the place where Lender's banking office is located and
      in New York City;
      "Maturity" means, when used with reference to this Note, the date (whether occurring by lapse of time, acceleration, or otherwise) upon which
      the lost scheduled principal installment of this Note is due;
      "Note" means this promissory note (including, without limitation, each addendum, allonge, or amendment, if any, hereto);
      "Obligor" means any Person who, or any of whose property, shall at the time in question be obligated in respect of all or any part of the Bank
      Debt of Borrower end fin addition to Borrower) includes, without limitation, co makers, indorsers, guarantors, pledgors, hypothecators,
      mortgagors, and any other Person who agrees, conditionally or otherwise, to make any loan to, purchase from, or investment in, any other
      Obligor or otherwise assure such other Obligor's creditors or arty of them against loss;
      "Person" means an Individual or entity of any kind, including, without limitation, any association, company, cooperative, corporation,
      partnership, trust, governmental body, or any other form or kind of entity;
      "Prime Rate" means the fluctuating rate per annum which Is publicly announced from time to time by Lender as being its so celled "prima rate"
      or "base rate" thereafter in effect, with each change in the Prime Rate automatically, immediately, and without notice changing the Prime Rate
      thereafter applicable hereunder, it being acknowledged that the Prime Rate is not necessarily the lowest rate of interest then available from
      Lender on fluctuating•tate loans;
      "Proceeding" means any assignment for the benefit of creditors, any case in bankruptcy, any marshalling of any Obligor's assets for the benefit
      of creditors, any moratorium on the payment of debts, or any proceeding under any law relating to conservatorship, Insolvency, liquidation,
      receivership, trusteeship, or any similar event, condition, or other thing;
      "Related Writing" means this Note and any indenture, note, guaranty, assignment, mortgego, security agreement, subordination agreement,
      notice, financial statement, legal opinion, certificate, or other writing of any kind pursuant to which all or any part of the Bank Debt of Borrower
      is issued, which evidences or secures all or any port of the Bank Debt of Borrower, which governs the relative rights and priorities oi Lender and
      one or more other Persons to payments made by, or the property of, any Obligor, which is delivered to Lender pursuant to another such writing,
      or which is otherwise delivered to Lender by or on behalf of any Person for any employee, officer, auditor, counsel, or agent of any Person) in
      respect of or in connection with all or any part of the Bank Debt of Borrower;
      and the foregoing definitions shall be applicable to the respective plurals of the foregoing defined terms.
      NO SETOFF. Borrower hereby waives any end all now existing or hereafter arising rights to recoup or offset any obligation of Borrower under or
      In connection with this Note or any Related Writing against any claim or right of Borrower against Lender,
       INDEMNITY: GOVERNMENTAL COSTS. If la) there shell be enacted any law (Including, without limitation, arty change in any law or in its
      interp►etation or administration end any request by any governmental authority) relating to any interest rate or any assessment, reserve, or
      special deposit requirement against assets held by, deposits in, or loans by Lender or to any tax lather then any tax on Lender's overall net
      income) and lb) in Lender's sole opinion any such event increases the cost of funding or maintaining loans bearing interest based upon the Index
      or reduces the amount of any payment to be made to Lender in respect thereof, then, and in each such case, upon Lender's demand, Borrower
      shell pay Lender an omount equal to each such cost Increase or reduced payment, as the case may be. In determining any such amount, Lender
      may use reasonable averaging and attribution methods. Each determination by Lender shall be conclusive absent obvious error.
      INDEMNITY: ADMINISTRATION AND ENFORCEMENT. Borrower will reimburse Lender, on Lender's demand from time to time, for any and all
       fees, costs, and expenses (including, without limitation, the fees end disbursements of outside legal counsel end the Interdepartmental charges
      andfor salary of in-house counsel) Incurred by Lender in administering this Note or In protecting, enforcing, or attempting to protect or enforce
      Its rights under this Note. 11 any amount (oilier than any principal of this Note and any interest and late charges) owing under this Note is not
      paid when due, then, and in each such case, Borrower shall pay, on Lender's demand, interest on that amount from the due date thereof until
      paid in lull at a fluctuating rate equal to four percent 14%) per annum plus the Prime Rate,
      WAIVERS; REMEDIES; APPLICATION OF PAYMENTS. Lender may from time to time in its discretion grant waivers and consents in respect of
       this Note or any other Related Writing or assent to amendments thereof, but no such waiver, consent, or amendment shall be binding upon
      L ender unless set forth in a writing (which writing shall be narrowly construed) signed by Lender. No course of dealing in respect oi, nor any
      omission or 'delay in the exercise of, any right, power, or privilege by Lender shall operate as a waiver thereof, nor shall any single or partial
      exercise thereof preclude any further or other exercise thereof or of any other, as each such right, power, or privilege may be exercised either
      independently or concurrently with others and as often end in such order as Lender may doom expedient. Without limiting the generality of the
       foregoing, neither Lender's acceptance of one or more late payments or charges nor Lender's acceptance of Interest on overdue amounts at the
      respective rates appicable thereto shell constitute a waiver of any right of Lender. Each right, power, or privilege specified or referred to in this
      Note is in addition to and not in limitation of any other rights, powers, and privileges that Lender may otherwise have or acquire by operation of
      law, by other contract, or otherwise. Lender shall be entitled to equitable remedies with respect to each breach or anticipatory repudiation of
      any provision of this Note, and Borrower hereby waives any defense which might be asserted to bar any such equitable remedy. Lender shall
      have the right to apply payments in respect of the indebtedness evidenced by this Note with such allocation to the respective parts thereof end
      the respective due dates thereof as Lender in its sole discretion may from time to time deem advisable.
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                                                                     PROMISSORY NOTE
 Loan No:'150816                                                        (Continued)                                                                           Page 4
 NOTICES AND OTHER COMMUNICATIONS. Each notice, demand, or other communicat
                                                                                        ion, whether or not received, shell be deemed to have
 been given to Borrower whenever Lander shell have mailed a writing to that effect by certified
                                                                                                   or registered mall to Borrower at Borrower's
 mailing address for any other address of which Borrower shall have given Lender notice
                                                                                        alter the execution and delivery of this Note); however,
 no other method of giving actual notice to Borrower Is hereby precluded. Borrower hereby irrevocably
                                                                                                        accepts Borrower's appointment as each
 Obligor's agent for the purpose of receiving any notice. demand, or other communication to be given
                                                                                                      by Lender to each such Obligor pursuant to
 any.Related Writing. Lander shall be entitled to assume that any knowledge possessed by any Obligor
                                                                                                           other then Borrower Is possessed by
Borrower, Each communication to be given to Lender shell be in writing unless this Note expressly
                                                                                                        permits that communication to be made
orally, and in any case shall be given to Lender at Lender's banking office for any other address of
                                                                                                        which Lender shall have given notice to
Borrower alter the execution and delivery this Note). Borrower hereby assumes ell risk arising
                                                                                                       out of ar In connection with each oral
communication given by Borrower and each communication given or attempted by Borrower
                                                                                               in contravention of this section. Lender shall be
entitled to rely on each communication believed in good faith by Lender to be genuine.
A DDITIONAL PROVISIONS. The Borrower will have the option to extend the initial term of the loan
                                                                                                          by 12 months provided the following
conditions have been achieved:
a. No event of default
b. Payment of extension fee
c. Renewal of all expired leases for a minimum of 12 months
d. Achievement of a 1.25:1.00 debt service coverage ratio
There will be en extension lee of $2,500.00 per extension.

SUCCESSOR INTERESTS. The terms of this Note shell be binding upon Borrower,
                                                                                               and upon Borrower's heirs, personal representatives,
successors and assigns, and shall inure to the benefit of Lender end its successors and
                                                                                             assigns.
GENERAL PROVISIONS. If arty part of this Note cannot be enforced, this fact
                                                                                     will not affect the rest of the Note. Lender may delay or forgo
enforcing any of Its rights or remedies under this Note without losing them. Borrower and
                                                                                                 any other parson who signs, guarantees or endorses
this Note, to the extent allowed by law, waive presentment, demand for payment, and notice of
                                                                                                       dishonor. Upon any change in the terms of this
Note, and unless otherwise expressly stated in writing, no party who signs
                                                                                  this Note, whether es maker, guarantor, accommodation maker or
endorser, shell be released from liability. All such parties agree that Lender may
                                                                                        renew or extend (repeatedly and for any length of time) this
loan or release any party or guarantor or collateral; or impair, fell to realize upon
                                                                                       or perfect Lender's security interest in the collateral; and take
any other action deemed necessary by Lender without the consent of or notice to anyone. All
                                                                                                      such parties also agree that Lender may modify
t his loan without the consent of or notice to anyone other than the party with whom
                                                                                            the modification Is made. The obligations under this Note
are Joint end several.
ILLINOIS INSURANCE NOTICE. Unless Borrower provides Lender with evidence of the insurance
                                                                                                       coverage required by Borrower's agreement
with Lender, Lender may purchase insurance at Borrower's expense to protect Lender's interests
                                                                                                     in the collateral. This insurance may, but need
not, protect Borrower's interests. The coverage that Lander purchases may not pay
                                                                                         any claim that Borrower makes or any claim that is made
against Borrower in connection with the collateral. Borrower may later
                                                                             cancel any insurance purchased by Lender, but only after providing
L ender with evidence that Borrower has obtained insurance as required by their agreement.
                                                                                                  If Lender purchases insurance for the collateral,
Borrower will ha responsible for the costs of that insurance, including interest and
                                                                                      any other charges Lender may impose in connection with tile
placement of the insurance, until the effective data of the cancellation or expiration
                                                                                       of the insurance. The costs of the insurance may be added
to Borrower's total outstanding balance or obligation. The costa of the Insurance
                                                                                    may be more than the cost of Insurance Borrower may be able
to obtain on Borrower's own.
PRIOR TO SIGNING THIS NOTE, BORROWER READ AND UNDERSTOOD ALL
                                                               THE PROVISIONS OF THIS NOTE, INCLUDING THE VARIABLE
INTEREST RATE PROVISIONS. BORROWER AGREES TO THE TERMS OF THE NOTE.
BORROWER ACKNOWLEDGES RECEIPT OF A COMPLETED COPY OF THIS PROMISSOR
                                                                    Y NOTE.
BORROWER:



650 CHURCH STREET, LLC
               •

           Chacin,    onager of 50 Church Street, LLC




                            LAiln /R0 tenth,
                                           'Vu. 1.31.00.023 Cep..   nnmd ,31M.Nm.04•   /OM. AI 1111
                                                                                                . , Moe.... • K. CICIIIVWWNIC1111
                                                                                                                                , 11b20.tC 11431111 IRA III
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  A MENDED       AND     RESTATED  COMMERCIAL       NOTE:        TIME  SINGLE
  A DVANCEIPRIMEJLIBOR (Illinois)
   A mount           City, State  DATE                    FOR.BANK USE ONLY
   $ 3,500,000.00    Chicago, IL  December 27, 2007       Obligor #
                                                          Obligation #
                                                          Office

  FOR VALUE RECEIVED, 650 Church Street, LLC, an Illinois limited liability company
 ("Borrower"), whose mailing address is 650 Church Street, Lake Zurich, IL 60047, hereby
  promises to pay to the order of National City Bank, a national banking association ("Bank"),
  having a banking office at One North Franklin, Suite 2150, Chicago, IL 60606, Attention:
  Investment Real Estate Division, Locator No. 50-CL0121 at the address specified on the bills
 received by Borrower from Bank (or at such other place as Bank may from time to time
 designate by written notice) in lawful money of the United States of America, the principal sum
 of Three Million Five Hundred Thousand and 00/100 DOLLARS ($3,500,000.00) or such lesser
 amount as may appear on this Note, or as may be entered in a loan account on Bank's books
 and records, or both, together with interest, all as provided below. The principal balance
 outstanding under this Note as of December 27, 2007 is Three Million Five Hundred Thousand
 and 00/100 DOLLARS ($3,500,000.00).

  1. Interest. The unpaid principal balance of this Note shall at all times bear interest at a rate
 equal to the Contract Rate, provided, that so long as any principal of or accrued interest on this
  Note is overdue, all unpaid principal of this Note and all overdue interest on that principal shall
 bear interest at a fluctuating rate equal to two percent (2%) per annum above the rate that
 would otherwise be applicable, but in no case less than two percent(2%) per annum above the
 Prime Rate; provided further, that in no event shall any principal of or interest on this Note bear
 interest at any time after Maturity at a lesser rate than the rate applicable thereto immediately
 after Maturity. From December 27, 2007, up to but not including December 27, 2008, the
 Contract Rate shall at ail times be the "Contract Rate" shall at all times be a fluctuating rate
 equal to the Prime Rate, provided, that Borrower shall have the right from time to time to
 irrevocably elect 1.90% per annum plus LIBOR as the Contract Rate applicable during a
 Contract Period to a Unit in the amount of Three Million Five Hundred Thousand and 00/100
 Dollars ($3,500,000.00)(or any greater amount that is an Integral multiple of Three Million
                                                                                                Five
 Hundred Thousand and 00/100 Dollars [$3,500,000.00) by specifying the term and amount,
 respectively, of the Contract Period and Unit in a notice given to Bank orally or in writing not
 later than 2:00 p. m., Banking-Office lime, of the third (3n1)Eurodollar Banking Day preceding
 the first day of that Contract Period.

  I nterest on this Note shall be payable in arrears on December 27, 2007, and on the 27th day
                                                                                                of
 each month thereafter, at Maturity, and on demand thereafter, except that interest on each
 LIBOR Unit shall be payable in arrears on the last day of the Contract Period for that Unit, at
 Maturity, and on demand thereafter, and in the case of any Contract Period having a term
 longer than ninety (90) days, shall also be payable every three (3) months after the first day of
 the Contract Period. The principal comprising each LIBOR Unit shall, at the end of the Contract
 Period for that Unit, become part of the Prime Rate Unit unless and to the extent that Borrower
 shall have elected otherwise as hereinbefore provided. Bank shall be entitled to fund and
 maintain its funding of all or any part of any LIBOR Unit in any manner Bank may from time to
 time deem advisable, Borrower hereby acknowledging that all determinations relating to LIBOR
 Units shall be made as if Bank had actually funded and maintained each such Unit by the
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  purchase of deposits in an amount similar to the amount of that Unit, with a maturity similar
                                                                                                to
  the Contract Period for that Unit, and bearing interest at LIBOR with respect to that Unit.

  This Note is a substitution for and replacement of that certain Promissory Note dated
  December 27, 2007, in the original principal amount of $3,500,000.00(as It may have been
  amended from time to time, the "Prior Note") which is hereby cancelled and no longer
                                                                                        in
  force and effect. The Bank Debt evidenced by the Prior Note will continue to
                                                                                        be
  evidenced by this Note. This Note is not a novation of the Bank Debt evidenced by the
  Prior Note. Any accrued and outstanding interest on the Prior Note will continue
                                                                                     to be
  evidenced by this Note.

  2. Ineffective Elections. Notwithstanding any provision or inference to the contrary, Bank
  shall have the right In its discretion, without notice to Borrower, to deem ineffective Borrower's
  election of a Contract Rate if (a) at the time of that election or on the first day of the Contract
 Period specified in Borrower's notice thereof, there shalt exist or there would occur any Event
                                                                                                       of
  Default, (b) any representation, warranty, or other statement (other than any expressly made as
  of a single date) made by any Person (other than Bank) in any Related Writing would, if made
  either as of the time of that election or as of the first day of the Contract Period specified
                                                                                                       in
  Borrowers notice thereof, be untrue or incomplete in any respect, (c) after giving effect to
                                                                                                     that
 election, more than one Contract Rate would be applicable to all or any part of any
                                                                                                    Unit,
(d) Bank shall determine that any governmental authority has asserted that it is unlawful
                                                                                                      for
 Bank to fund, make, or maintain loans bearing interest based on LIBOR,(e) after giving
                                                                                               effect to
 that election, the unpaid principal balance of this Note would, on the first day of the
                                                                                              Contract
 Period specified in Borrower's notice of that election, be less than the then aggregate amount
                                                                                                       of
 all LIBOR Units, (0 after giving effect to that election, the aggregate amount of all
                                                                                              principal
 payments scheduled to become due at any one time during the Contract Period specified
                                                                                                       in
 Borrower's notice of that election would exceed the amount of the Prime Rate Unit at that
                                                                                                   time,
 or (g) the Contract Period specified in Borrower's notice of that election would end
                                                                                             after the
 scheduled due date of the last principal payment under this Note, giving effect
                                                                                                to any
 prepayments. Moreover, Borrower shall not be entitled to elect a Contract Rate if
                                                                                           Bank shall
 determine that (0 dollar deposits of the appropriate amount and maturity are not available
                                                                                                  in the
 market selected by Bank for the purpose of funding the relevant Unit at
                                                                                               LIBOR,
(ii) circumstances affecting the market selected by Bank for the purpose offunding the
                                                                                              relevant
 Unit make It impracticable for Bank to determine LIBOR, (iii) LIBOR is unlikely to
                                                                                           adequately
 compensate Bank for the cost of making, funding or maintaining the relevant Unit
                                                                                                for the
 Contract Period specified in Borrower's notice of that election, or (iv) any governmental
                                                                                             authority
 has asserted that it is unlawful.for Bank to fund, make, or maintain loans bearing interest
                                                                                                 based
on LIBOR. Bank's books and records shall be conclusive (absent obvious error) as to
                                                                                              whether
Bank shall have deemed any election of a Contract Rate ineffective. Except as
                                                                                         hereinbefore
 provided, there is no limit to the number of Contract Rates that may be applicable to
                                                                                           the unpaid
 principal balance of this Note at any one time.

 3. Repayment. Subject to section 7, the principal of this Note shall be due and
                                                                                 payable in one
 payment on December 27, 2008.

 Payments prior to the first scheduled interest and principal payments in sections
                                                                                   1 and 3
 above have been made as evidenced by the books and records of Bank.

 4. Prepayment. (a) Borrower shall have the right to prepay the principal of this
                                                                                  Note in whole
 or in part, provided, that (0 each such prepayment shall be in the principal sum
                                                                                        of One
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   Thousand and no/100 Dollars ($1,000.00) or any integral multiple thereof or an amount equal to
   the then aggregate unpaid principal balance of this Note, (11) each such prepayment shall be
   applied to the installments of this Note in the inverse order of their respective due dates, and (iii)
   concurrently with the prepayment of the entire unpaid principal balance of this Note, Borrower
   shall prepay the accrued interest on the principal being prepaid.

  (b) Each prepayment of the principal of the Prime Rate Unit may be made without premium or
   penalty.

 (c) if any LIBOR Unit is either (i) prepaid in whole or in part before the last day of the Contract
  Period for that Unit or (ii) accelerated after the occurrence of an Event of Default hereunder,
  then, on the date of the occurrence of either (i) or (ii) above, or with respect to any partial
   prepayment for which a LIBOR Prepayment Charge was not determined on the date of
  occurrence, on the date of any subsequent prepayment for which a LIBOR Prepayment Charge
  is determined (each a "Determination Date"), Borrower shall, concurrently with the prepayment
  or acceleration (as the case may be), pay to Bank (A)the accrued interest on the principal being
  prepaid and (B) a "LIBOR Prepayment Charge" based on the principal amount paid and
 'computed for the period from the date of prepayment to the last day of the Contract Period for
  that Unit at a rate per annum equal to the excess, if any, of LIBOR used in determining the
  Contract Rate for such Contract Period theretofore applicable over the Reinvestment Rate.
  Bank's right to collect any LIBOR Prepayment Charge shall accrue as of each Determination
  Date, and any delay on Bank's part to determine, or to notify Borrower as to, the amount of any
  LIBOR Prepayment Charge shall not constitute a waiver of, or otherwise limit, Bank's right to
  recover a LIBOR Prepayment Charge otherwise payable pursuant to the terms hereof.

 (d) If Bank shall deem ineffective Borrower's election of any Contract Rate, then, and in each
 such case, that election shall be ineffective and Borrower shall pay to Bank, on Bank's demand,
  a LIBOR Prepayment Charge to be calculated as set forth in (c) above as if Borrower had made
  a prepayment before the last day of the Contract Period in the amount of the Unit in question on
 the date Bank deemed such election to be ineffective.

 (e) If Bank shall determine that any governmental authority has asserted that It is unlawful for
 Bank to fund, make, or maintain loans bearing interest based on LIBOR,then, and in each such
  case, notwithstanding any provision or inference to the contrary, the principal comprising each
  then outstanding LIBOR Unit shall, upon Bank's giving Borrower notice of that determination, be
  added to and become part of the Prime Rate Unit, and Borrower shall, concurrently with the
 addition of that principal to the Prime Rate Unit, pay to Bank (0 the accrued interest on the
  principal so added and (ii) a LIBOR Prepayment Charge to be calculated as set forth in (c)
 above as if Borrower had made a payment before the last day of the Contract Period in the
 amount of the principal so added on the date that the principal was added to the Prime Rate
 Unit.

 (0 Bank's determination of any LIBOR Prepayment Charge shall be conclusive absent obvious
 error. Borrower acknowledges and agrees that the LIBOR Prepayment Charge (i) constitutes
 liquidated damages, (ii) is a reasonable method of determining Bank's loss in the event all or
 any part of any principal of the Note is paid in whole or in part or is accelerated before its
 original due date, and (iii) is not a penalty.

 5. Definitions. As used in this Note, except where the context clearly requires otherwise,
 "Affiliate" means, when used with reference to any Person (the "subject"), a Person that is in
 control of, under the control of, or under common control with, the subject, the term "contror
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  meaning the possession, directly or indirectly, of the power to direct the management or policies
  of a Person, whether through the ownership of voting securities, by contract, or otherwise;
  "Bank Debt' means, collectively, all Debt to Bank, whether incurred directly to Bank or acquired
  by it by purchase, pledge, or otherwise, and whether participated to or from Bank in whole or in
  part;

  "Banking Day' means any day (other than any Saturday, Sunday or legal holiday) on which
    Bank's banking office is open to the public for carrying on substantially all of its banking
   functions; "Banking-Office Time" means, when used with reference to any time, that time
   determined at the location of Bank's banking office; "Contract Period' means, relative to a Unit,
   a period selected by Borrower, provided, that each Contract Period shall commence on a
   Eurodollar Banking Day and end twelve (12) months thereafter, provided, that(a) if any Contract
   Period otherwise would end on a day that is not a Banking Day, it shall end instead on the next
  following Banking Day and (b) if any Contract Period commences on a day for which there is no
   numerical equivalent in the calendar month in which that Contract Period is to end, it shall end
   on the last calendar day of that calendar month unless such day is not a Banking Day in which
   case it shall end on the next following Banking Day;"Debt' means, collectively, all obligations of
   the Person or Persons in question, including, without limitation, every such obligation whether
   owing by one such Person alone or with one or more other Persons in a joint, several, or joint
   and several capacity, whether now owing or hereafter arising, whether owing absolutely or
   contingently, whether created by lease, loan, overdraft, guaranty of payment, or other contract,
   or by quasi-contract, tort, statute, other operation of law, or otherwise; "Eurodollar Banking
   Day" means any Banking Day on which banks in the London Interbank Market deal in United
  States dollar deposits and on which banking institutions are generally open for domestic and
   international business at the place where Bank's banking office is located and in New York City;
  "LIBOR' means, with respect to a Unit, the rate per annum (rounded upwards, if necessary, to
  the next higher 1/16 of 1%) determined by Bank by dividing (a) the rate per annum determined
   by Bank to equal the average rate per annum at which deposits (denominated in United States
  dollars) in an amount similar to that Unit and with a maturity similar to the Contract Period for
  that Unit are offered to Bank at 11:00 A.M. London time (or as soon thereafter as practicable)
  two (2) Eurodollar Banking Days prior to the first day of that Contract Period by banking
   institutions in any Eurodollar market selected by Bank by (b) the difference of one (1) less the
  Reserve Percentage; "LIBOR Unit" means a Unit for which the Contract Rate is based on
  LIBOR; "Maturity" means the date (whether occurring by lapse of time, acceleration, or
  otherwise) upon which the last scheduled principal payment under this Note is due; "Note"
   means this promissory note (including, without limitation, each addendum, allonge, or
  amendment, If any, hereto); "Obligor' means any Person who, or any of whose property, shall
  at the time in question be obligated in respect of all or any part of the Bank Debt of Borrower
  and (in addition to Borrower) includes, without limitation, co-makers, indorsers, guarantors,
  pledgors, hypothecators, mortgagors, and any other Person who agrees, conditionally or
  otherwise, to assure such other Obligor's creditors or any of them against loss;"Person" means
  an individual or entity of any kind, including, without limitation, any association, company,
  cooperative, corporation, partnership, trust, governmental body, or any other form or kind of
  entity; "Prime Rate" means the fluctuating rate per annum which is publicly announced from
  time to time by Bank as being its "prime rate" or "base rate" thereafter in effect, with each
  change in the Prime Rate automatically, immediately, and without notice changing the Prime
  Rate thereafter applicable hereunder, it being acknowledged that the Prime Rate is not
  necessarily the lowest rate of interest then available from Bank on fluctuating-rate loans;"Prime
  Rate Unit' means, at any time, the then aggregate unpaid principal balance of this Note for
  which the Contract Rate is based on the Prime Rate; "Proceeding" means any assignment for
  the benefit of creditors, any case in bankruptcy, any marshalling of any Obligor's assets far the
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      benefit of creditors, any moratorium on the payment of debts, or any proceeding under any law
     relating to conservatorship, insolvency, liquidation, receivership, trusteeship, or any similar
     event, condition, or other thing; "Reinvestment Rate" means, at the time of calculation, the
   "bond equivalent yield" interpolated from the most actively traded U.S. Treasury Bills, U.S.
     Treasury Notes and/or U.S. Treasury Bonds to a term equal to the principal weighted average
     time (as measured in years from the date of calculation and rounded to the nearest 1/101h of a
     year) that all principal payments subject to early repayment are scheduled to be outstanding
    and bear interest at a fixed rate under this Note"; "Related Writing" means this Note and any
    indenture, note, guaranty, assignment, mortgage, security agreement, subordination agreement,
    notice, financial statement, legal opinion, certificate, or other writing of any kind pursuant to
    which all or any part of the Bank Debt of Borrower is issued, which evidences or secures all or
    any part of the Bank Debt of Borrower, which governs the relative rights and priorities of Bank
    and one or more other Persons to payments made by, or the property of, any Obligor, which is
    delivered to Bank pursuant to another such writing, or which is otherwise delivered to Bank by
    or on behalf of any Person (or any employee, officer, auditor, counsel, or agent of any Person)
    in respect of or in connection with all or any part of the Bank Debt of Borrower; "Reporting
   Person" means each Obligor and each member of any "Reporting Group" as defined in any
   addendum to this Note; "Reserve Percentage" means the percentage (expressed as a
   decimal) which Bank determines to be the maximum (but in any case less than 1.00) reserve
   requirement (including, without limitation, any emergency, marginal, special, or supplemental
   reserve requirement) prescribed for so-called "Eurocurrency liabilities" (or any other category of
   liabilities that includes deposits by reference to which the interest rate applicable to LIBOR Units
  is determined) under Regulation D (as amended from time to time) of the Board of Governors of
  the Federal Reserve System or under any successor regulation which Bank determines to be
  applicable, with each change in such maximum reserve requirement automatically, immediately,
  and without notice changing the interest rate thereafter applicable to each LIBOR Unit, it being
  agreed that LIBOR Units shall be deemed Eurocurrency liabilities subject to such reserve
  requirements without the benefit of any credit for proration, exceptions, or offsets; "Unit' means
  the aggregate unpaid principal balance of this Note or any part of that balance; and the
  foregoing definitions shall be applicable to the respective plurals of the foregoing defined terms.

   6. Events of Default. It shall be an "Event of Default' if (a) all or any part of the Bank
                                                                                              Debt of
  any Obligor shall not be paid in full promptly when due (whether by lapse of time, accelerati
                                                                                                   on,
   or otherwise); (b) any representation, warranty, or other statement made by any Person
                                                                                                (other
   than Bank) in any Related Writing shall be untrue or incomplete in any respect when made;
                                                                                                   (c)
  any Person (other than Bank) shall repudiate or shall fail or omit to perform or observe any
  agreement contained in this Note or in any other Related Writing that is on that Person's
                                                                                               part to
  be complied with; (d) any indebtedness (other than any evidenced by this Note) of any Obligor
  shall not be paid when due, or there shall occur any event, condition, or other thing which
                                                                                                 gives
 (or which with the lapse of any applicable grace period, the giving of notice, or both would
                                                                                                 give)
  any creditor the right to accelerate or which automatically accelerates the maturity of any such
  indebtedness; (e) Bank shall not receive (in addition to any information described
                                                                                               in any
  addendum to this Note) without expense to Bank, (I) forthwith upon each request of Bank
                                                                                                made
  upon Borrower therefore, (A) such information in writing regarding each Reporting Person's
 financial condition, properties, business operations, if any, and pension plans, if any, prepared,
  in the case of financial information, in accordance with generally accepted accounting principles
  consistently applied and otherwise in form and detail satisfactory to Bank or (B) written
  permission, in form and substance satisfactory to Bank, from each Reporting Person to
                                                                                              inspect
 (or to have inspected by one or more Persons selected by Bank) the properties and records of
 that Reporting Person and to make copies and extracts from those records or (ii) prompt written
 notice whenever Borrower (or any director, employee, officer, or agent of Borrower) knows or
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   has reason to know that any Event of Default has occurred; (I) any judgment shall be entered
   against any Obligor in any judicial or administrative tribunal or before any arbitrator or mediator;
  (g) any Obligor shall fail or omit to comply with any applicable law, rule, regulation, or order in
   any material respect;(h) any proceeds of the loan evidenced by this Note shall be used for any
   purpose that is not in the ordinary course of Borrower's business; (i) any property in which any
   Obligor now has or hereafter acquires any rights or which now or hereafter secures any Bank
   Debt shall be or become encumbered by any mortgage, security interest, or other lien, except
   any mortgage, security interest, or other lien consented to by Bank; (j) any Obligor shall at any
  time or over any period of time sell, lease, or otherwise dispose of all or any material part of that
   Obligor's assets, except for inventory sold in the ordinary course of business and other assets
  sold, leased, or otherwise disposed of with the consent of Bank; (k) any Obligor.shall cease to
  exist or shall be dissolved, become legally incapacitated, or die; (1) any Proceeding shall be
  commenced with respect to any Obligor;(m)there shall occur or commence to exist any event,
  condition, or other thing that constitutes an "Event of Default" as defined in any addendum to
  this Note; (n) there shall occur any event, condition, or other thing that has, or, in Bank's
  judgment, is likely to have, a material adverse effect on the financial condition, properties, or
  business operations of any Obligor or on Bank's ability to enforce or exercise any agreement or
  right arising under, out of, or in connection with any Related Writing; or (o) the holder of this
  Note shall, in good faith, believe that the prospect of payment or performance of any obligation
  evidenced by this Note is impaired.

  7. Effects of Default. If any Event of Default (other than the commencement of any
  Proceeding with respect to Borrower) shall occur, then, and in each such case, notwithstanding
  any provision or inference to the contrary, Bank shall have the right in its discretion, by giving
  written notice to Borrower, to declare this Note to be due, whereupon the entire unpaid principal
  balance of this Note (if not already due) shall immediately become due and payable in full. If
  any Proceeding shall be commenced with respect to Borrower, then, notwithstanding any
  provision or inference to the contrary, automatically, without presentment, protest, or notice of
  dishonor, all of which are waived by all makers and all indorsers of this Note, now or hereafter
  existing, the entire unpaid principal balance of this Note (if not already due) shall immediately
  become due and payable in full.

 8. Late Charges. If any principal of or interest on this Note is not paid within ten (10) days after
 its due date, then, and In each such case, Bank shall have the right to assess a late charge,
 payable by Borrower on demand, in an amount equal to the greater of Twenty and 00/100
 Dollars ($20.00) or five percent(5.0%) of the amount not timely paid.

 9. No Setoff. Borrower hereby waives any and all now existing or hereafter arising rights to
 recoup or offset any obligation of Borrower under or in connection with this Note or any Related
 Writing against any claim or right of Borrower against Bank.

 10. Indemnify: Governmental Costs. If (a) there shall be enacted any law (including, without
 limitation, any change in any law or in its interpretation or administration and any request by any
 governmental authority) relating to any interest rate or any assessment, reserve, or special
 deposit requirement (except if and to the extent utilized in computation of the Reserve
 Percentage) against assets held by, deposits in, or loans by Bank or to any tax (other than any
 tax on Bank's overall net income) and (b) in Bank's sole opinion any such event increases the
 cost of funding or maintaining any LIBOR Unit or reduces the amount of any payment to be
 made to Bank in respect thereof, then, and in each such case, upon Bank's demand, Borrower
 shall pay Bank an amount equal to each such cost increase or reduced payment, as the case
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  may be. In determining any such amount, Bank may use reasonable averaging and attribution
  methods, Each determination by Bank shall be conclusive absent obvious error.

   11. Indemnify: Administration and Enforcement. Borrower will reimburse Bank, on Bank's
  demand from time to time, for any and all fees, costs, and expenses (including, without
  limitation, the fees and disbursements of legal counsel) incurred by Bank in administering this
   Note or in protecting, enforcing, or attempting to protect or enforce its rights under this Note. If
  any amount (other than any principal of this Note and any interest and late charges) owing
  under this Note is not paid when due, then, and in each such case, Borrower shall pay, on
  Bank's demand, interest on that amount from the due date thereof until paid in full at a
  fluctuating rate equal to four percent(4%) par annum plus the Prime Rate.

   12. Waivers; Remedies; Application of Payments. Bank may from time to time in its
  discretion grant waivers and consents in respect of this Note or any other Related Writing or
  assent to amendments thereof, but no such waiver, consent, or amendment shall be binding
   upon Bank unless set forth in a writing (which writing shall be narrowly construed) signed by
  Bank. No course of dealing in respect of, nor any omission or delay in the exercise of, any right,
  power, or privilege by Bank shall operate as a waiver thereof, nor shall any single or partial
  exercise thereof preclude any further or other exercise thereof or of any other, as each such
  right, power, or privilege may be exercised either independently or concurrently with others and
  as often and in such order as Bank may deem expedient. Without limiting the generality of the
  foregoing, neither Bank's acceptance of one or more late payments or charges nor Bank's
  acceptance of interest on overdue amounts at the respective rates applicable thereto shall
  constitute a waiver of any right of Bank, Each right, power, or privilege specified or referred to
  in this Note is in addition to and not in limitation of any other rights, powers, and privileges that
  Bank may otherwise have or acquire by operation of law, by other contract, or otherwise. Bank
  shall be entitled to equitable remedies with respect to each breech or anticipatory repudiation of
  any provision of this Note, and Borrower hereby waives any defense which might be asserted to
  bar any such equitable remedy. Bank shall have the right to apply payments in respect of the
  indebtedness evidenced by this Note with such allocation to the respective parts thereof and the
  respective due dates thereof as Bank in its sole discretion may from time to time deem
  advisable. If any payment is required to be made on a day which is not a Banking Day, such
  payment shall be due on the next immediately following Banking Day and interest shall continue
  to accrue at the applicable rate.

  13. Other Provisions. The provisions of this Note shall bind Borrower and Borrower's
 successors and assigns and benefit Bank and its successors and assigns, including each
 subsequent holder, if any, of this Note. Except for Borrower and Bank and their respective
 successors and assigns, there are no intended beneficiaries of this Note or the loan evidenced
  by this Note. The provisions of sections 9 through 19, both inclusive, shall survive the payment
 in full of the principal of and interest on this Note. The captions to the sections and subsections
 of this Note are Inserted for convenience only and shall be ignored in interpreting the provisions
 thereof. Each reference to a section includes a reference to all subsections thereof (i.e., those
 having the same character or characters to the left of the decimal point) except where the
 context clearly does not so permit. If any provision in this Note shall be or become illegal or
 unenforceable in any case, then that provision shall be deemed modified in that case so as to
 be legal and enforceable to the maximum extent permitted by law while most nearly preserving
 its original intent, and in any case the illegality or unenforceability of that provision shall affect
 neither ►hat provision in any other case nor any other provision. All fees, interest, and premiums
 for any given period shall accrue on the first day thereof but not on the last day thereof (unless
 the last day is the first day) and in each case shall be computed on the basis of a 360-day year
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   and the actual number of days in the period. In no event shall interest accrue at a higher rate
   than the maximum rate, if any, permitted by law. Bank shall have the right to furnish to its
   Affiliates, and to such other Persons as Bank shall deem advisable for the conduct of its
   business, information concerning the business, financial condition, and property of Borrower,
   the amount of the Bank Debt of Borrower, and the terms, conditions, and other provisions
   applicable to the respective parts thereof. This Note shall be governed by the law (excluding
   conflict of laws rules) of the jurisdiction in which Bank's banking office is located.

  14. Integration. This Note and, to the extent consistent with this Note, the other Related
  Writings, set forth the entire agreement of Borrower and Bank as to the subject matter of this
  Note, and may not be contradicted by evidence of any agreement or statement unless made in
  a writing (which writing shall be narrowly construed) signed by Bank contemporaneously with or
  after the execution and delivery of this Note. Without limiting the generality of the foregoing,
  Borrower hereby acknowledges that Bank has not based, conditioned, or offered to base or
  condition the credit hereby evidenced or any charges, fees, interest rates, or premiums
  applicable thereto upon Borrower's agreement to obtain any other credit, property, or service
  other than any loan, discount, deposit, or trust service from Bank. In the event and to the extent
  of any conflict between the terms hereof and the terms of any exhibit, schedule, addendum,
  allonge, modification or amendment hereto, the terms of such exhibit, schedule, addendum,
  allonge, modification or amendment shall control.

 15. Notices and Other Communications. Each notice, demand, or other communication,
 whether or not received, shall be deemed to have been given to Borrower whenever Bank shall
 have mailed a writing to that effect by certified or registered mail to Borrower at Borrower'
                                                                                                s
 mailing address (or any other address of which Borrower shall have given Bank notice after the
 execution and delivery of this Note); however, no other method of giving actual notice to
 Borrower Is hereby precluded. Borrower hereby irrevocably accepts Borrower's appointm
                                                                                         ent as
 each Obligor's agent for the purpose of receiving any notice, demand, or other communic
                                                                                          ation
 to be given by Bank to each such Obligor pursuant to any Related Writing. Bank shall
                                                                                              be
 entitled to assume that any knowledge possessed by any Obligor other than Borrower
                                                                                               is
 possessed by Borrower. Each communication to be given to Bank shall be in writing unless
                                                                                            this
 Note expressly permits that communication to be made orally, and in any case shall be given to
 Bank at Bank's banking office (or any other address of which Bank shall have given notice
                                                                                              to
 Borrower after the execution and delivery this Note). Borrower hereby assumes all risk
                                                                                         arising
 out of or In connection with each oral communication given by Borrower and
                                                                                           each
 communication given or attempted by Borrower in contravention of this section. Bank shall
                                                                                              be
 entitled to rely on each communication believed in good faith by Bank to be genuine.

 18. Direct Debit. The following is applicable if checked by Borrower:[ j Payments shall
                                                                                         be paid
 by Borrower by debiting Borrower's                     account, number                       on
 the due date.

  17. Warrant of Attorney (Confession of Judgment). Borrower hereby authorize
                                                                                                s any
  attorney at law at any time or times to appear in any state or federal court of record in the
                                                                                                United
 States of America after all or any part of the obligations evidenced by this Note shall
                                                                                                  have
  become due, whether by lapse of time, acceleration, or otherwise, and in each case to
                                                                                                 waive
 the issuance and service of process, to present to the court this Note and any other writing
                                                                                                    (if
 any) evidencing the obligation or obligations in question, to admit the due date thereof
                                                                                               end the
 nonpayment thereof when due, to confess judgment against Borrower in favor of Bank for
                                                                                                   the
 full amount then appearing due, together with interest and costs of suit (including, but not limited
 to, attorneys' fees), and thereupon to release all errors and waive all rights of appeal
                                                                                              and any
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  stay of execution. The foregoing warrant of attorney shall survive any
                                                                              judgment, it being
   understood that should any judgment against Borrower be vacated for any reason,
                                                                                        Bank may
  nevertheless utilize the foregoing warrant of attorney in thereafter obtaining one
                                                                                          or more
  additional judgments against Borrower. Borrower hereby waives and releases any
                                                                                    and all claims
  or causes of action which Borrower might have against any attorney acting under the
                                                                                          terms of
  the authority which Borrower has granted herein arising out of or connected with the
                                                                                       confession
  of any judgment. Should Borrower enter an appearance in such cause of action and
                                                                                       commence
  any proceeding to open or vacate a judgment taken by confession hereunder and
                                                                                           seek to
  defend against that judgment, Borrower shall be liable for and hereby agrees
                                                                                       to pay all
  additional expenses of Bank including attorneys' fees, expenses and court costs
                                                                                       incurred in
  connection with the collection of the obligations evidenced by this Note and all costs
                                                                                            of any
  nature incurred by Bank under any of the Related Writings.

   18. Illinois Insurance. Unless Borrower provides Bank with evidence of the insuran
                                                                                       ce coverage
   required by Borrower's agreement with Bank, Bank may purchase insuran
                                                                                  ce at Borrower's
   expense to protect Bank's interests in the co►lateral. This insurance may, but need
                                                                                        not, protect
   Borrower's interests. The coverage that Bank purchases may not pay any claim that
                                                                                           Borrower
  makes or any claim that is made against Borrower in connection with the collater
                                                                                       al. Borrower
  may later cancel any insurance purchased by Bank, but only after providing Bank with
  that Borrower has obtained insurance as required by their agreement. If                  evidence
                                                                                  Bank purchases
  insurance for the collateral, Borrower will be responsible for the costs of
                                                                                   that
  including interest and any other charges Bank may impose in connection with the insurance,
                                                                                      placement of
  the insurance, until the effective date of the cancellation or expiration of
                                                                               the insurance. The
  costs of the insurance may be added to Borrower's total outstanding balance
                                                                                 or obligation, The
  costs of the insurance may be more than the cost of insurance Borrower may
                                                                                  be able to obtain
  on Borrower's own.

 19. Jurisdiction and Venue; Waiver of Jury Trial. Any action, claim,
 crossclaim, proceeding, or suit, whether at law or in equity, whether sounding        counterclaim,
                                                                                 in tort, contract, or
 otherwise at any time arising under or in connection with this Note or any other
                                                                                   Related Writing,
 the administration, enforcement, or negotiation of this Note or any other Related
                                                                                      Writing, or the
 performance of any obligation in respect of this Note or any other Related
                                                                                Writing (each such
 action, claim, counterclaim, crossclaim, proceeding, or suit, an "Action") may
                                                                                  be brought in any
 federal or state court located in the city in which Bank's banking office
                                                                             is located. Borrower
 hereby unconditionally submits to the jurisdiction of any such court with
                                                                             respect to each such
 Action and hereby waives any objection Borrower may now or hereaft
                                                                          er have to the venue of
 any such Action brought in any such court. BORROWER HEREBY,
                                                                         AND EACH HOLDER OF
 THIS NOTE, BY • TAKING POSSESSION THEREOF, KNOWINGLY
                                                                            AND VOLUNTARILY
 WAIVES JURY TRIAL IN RESPECT OF ANY ACTION.
                                       BORROWER: 660 Church Street, LLC

                                       By:
                                       Prin ed Name: Gerardo hacin
                                       Title: Manager
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                                            EXHIBIT"A"

                      Advance Request and Interest Rate Selection Notice Form

   New request[ J
   Renewal of note number         [)

   650 Church Street, LLC, an Illinois limited liability company (the "Borrower")
                                                                                  hereby requests the
   following interest rate selection for outstandings under the Loan, as described in
                                                                                       the Note from
   Borrower to Bank dated December 27, 2007, in the amount of up to Three Million
                                                                                        Five Hundred
   Thousand end 00/100 ($3,500,000.00) Dollars:

          Base Rate        or          12 month LIBOR



   Please indicate rate selection and National City Bank will quote the
                                                                        rate including the
   applicable interest addition.

   The requested advance amount is $
  (For new advances): Disbursement of funds.
                              Deposit to checking account number
                              Deposit to savings account number
                             Send cashiers check.

  Dated this 27th of December, 2007
                                               BORROWER:650 Church Street, LLC

                                               By:—.-_,
                                                     --,
                                                       .
                                                       .       - - ---
                                                   —Grerardii 6acin
                                               Its: Manager

                                               Phone number for questions:
  The following LIBOR rate will be the rate assessed for the Interest Period
                                                                             as chosen above by
  Borrower:
          (Base LIBOR rate /(1 - reserve rate) + 1.90%)

                                               National City Bank

                                               By:
                                                    Erica Duncan
                                               Its: Corporate Loan Officer


  Please fax this request to Mayra Medina at
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   A MENDED AND RESTATED COMMERCIAL NOT
                                           E: TERM SINGLE ADVANCE/ One Mont
   Daily Indexed(ILLINOI)
                        S                                                      h LIBOR
    A mount               City, State Date
   $ 3,500, 000.00                                        FOR BAN K USE ONLY
                          Chicago, IL   Dec. 29     2n06 Obligor # 9993898943
                                                         Obligation # 0096352034
                                                         Office

    FOR VALUE RECEIVED, 650 Church Stree
                                                        t, LLC .("Borrower"), an Illinois limit
    company, whose mailing address is, 650 Chur                                                     ed liability
                                                       ch Street, Lake Zurich, IL 60047, hereby
    pay to the order of National City Bank, a natio                                                prom  ises to
                                                       nal banking association ("Bank"), havi
    office at One North Franklin, Suite 3600, Chicago,                                            ng a banking
                                                           IL 60606 Attention: Commercial Lend
   at Bank's banking office (or at such other place                                               ing Division,
                                                        as Bank may from time to time designat
   notice) in lawful money of the United States of                                                 e by written
                                                          America, the principal sum of Three
   H undred Thousand and 00/100 DOLLARS ($3,500,                                                   Million Five
                                                              000.00) together with interest, all as
   below. The principal balance, outstanding unde                                                      provided
 -clA r(.  t, _Mit\con r/ /4'       ./maskai 'Tlif
                                   ,.
                                                         r this Note as of
                                                 it.9uti DOLLARS($N-W i )
                                                                              NO      Pal ber       ,  2008 , is
                                                                                  f no.0
                                                                                       ) ).
   1.       Interest. The unpaid principal balance of this
  equal to the Contract Rate, provided, that so long            Note shall at all times bear interest at
                                                                                                          a rate
                                                          as any principal of or accrued interest on
  is overdue, all unpaid principal of this Note                                                       this Note
                                                     shall bear interest at a fluctuating rate
  percent(2%) per annum above the rate that                                                      equal to two
                                                  would otherwise be applicable, but in no
 two percent(2%) per annum above the Prime                                                     case less than
                                                        Rate; provided further, that in no even
  principal of this Note bear interest at any                                                      t shall any
                                               time after Maturity at a lesser rate than the
 thereto immediately after Maturity. • On                                                      rate applicable
                                              and after December 29, 2008, and prior to
 "Contract Rate' shall at all-times be a fluctuatin                                              maturity, the
                                                         g rate equal to 1.90% per annum plus
 LIBOR, provided, that in the event One Mont                                                       One Month
                                                  h LIBO
 determination of the occurrence of one of the even R is unavailable as a result of Bank's good faith
                                                         ts specified in section 2, the "Contract
 be a fluctuating rate equal to the Prime Rate                                                     Rate" shall
                                                .
 Interest on this Note shall be payable in arrea
                                                 rs on January 29, 2009, and on the 29th
 month thereafter, at Maturity, and on dema                                               day
                                               nd thereafter. The One Month LIBOR rate of each
 adjusted by Bank, as necessary, at the end                                                   shall be
                                              of each Banking Day during the term hereo
 not be required to notify Borrower of any                                              f. Bank shall
                                               adjustment in the One Month LIBOR
 Borrower may request a quote of the prevailing                                       rate; however,
                                                 Contract Rate on any Banking Day.
This Note Is a substitution for and repl
                                              acement of that certain Amended and
Commercial Note: Time Single Advance/Prim                                                Restated
                                               e/Libor dated December 27, 2007 in the
principal amount of $3,500,000.00 (as it may                                              original
                                               have been amended from time to time,
N ote") which is hereby cancelled and no long                                           the "Prior
                                                er in force and effect. The Bank Debt
by the Prior Note will continue to be evidenced                                        evidenced
                                                  by this Note. This Note is not a novation
Bank Debt evidenced by the Prior Note. Any                                                  of the
                                                  accrued and outstanding interest on the
N ote will continue to be evidenced by this Note                                             Prior
                                                 .
2.      LIBOR Unavailable. Notwithstanding any
                                                  provision or inference to the contrary, the
Rate shall not be based on One Month LIBO                                                     Contract
                                               R if Bank shall determine in good faith that
governmental authority has asserted that it                                                    (a) any
                                            is unlawful for Bank to fund, make, or maint
bearing interest based on One Month LIBOR, or                                                ain loans
                                                 (b) circumstances affecting the market selec
Bank for the purpose of funding the loan evid                                                   ted by
                                                 enced hereby make it impracticable for
determine One Month LIBOR. Bank's books and                                                   Bank to
                                                  records shall be Conclusive (absent obvious
as to whether Bank shall have determined that the                                                error
                                                    Contract Rate is prohibited from being based )
182136                                                                                              on
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 One Month LIBOR. if the Contract Rate is prohibited from being based on One Month LIBOR as a
 result of the occurrence of one of the events referenced in this section, then, and in each such case,
 notwithstanding any provision or inference to the contrary, the then outstanding principal balance of
 this Note shall, upon Bank giving Borrower notice of Bank's determination of the occurrence of such
 an event, bear interest at a Contract Rate based on the Prime Rate as contemplated in section 1.

 Repayment and Closing Fee. Subject to section 6, the principal of the Note shall hereafter be
 payable in twelve (12) consecutive monthly installments commencing on January 29, 2009. Each
 installment shall consist of principal in the amount of Nine Thousand Seven Hundred Twenty and
 00/100 Dollars ($9,720.00) plus the unpaid interest accrued on the Note, except that the final
 installment shall be in such amount as will pay all of the unpaid principal of and unpaid interest
 accrued on the Note in full.

 Payments prior to the first scheduled interest and principal payments In sections 1 and 3
 above have been made as evidenced by the books and records of Bank.

 If any payment is required to be made on a day which is not a Banking Day, such payment shall be
 due on the next immediately following Banking Day and interest shall continue to accrue at the
 applicable rate.

 Borrower shall have the right to prepay the principal of this Note in whole or in part, provided,
 that(a) each such prepayment shall be in the principal sum of One Thousand and No/100 dollars
($1,000.00) or any integral multiple thereof or an amount equal to the then aggregate unpaid principal
 balance of this Note,(b)to the extent principal is payable in installments, each such prepayment shall
 be applied to the installments of this Note in the inverse order of their respective due dates,
 and (c) concurrently with the prepayment of the entire unpaid principal balance of this Note, Borrower
shall prepay the accrued interest on the principal being prepaid. Each prepayment of this Note may
 be made without premium or penalty.

3.      Definitions. As used in this Note, except where the context clearly requires otherwise,
"Bank Debt" means, collectively, all Debt to Bank, whether incurred directly to Bank or acquired by it
by purchase, pledge, or otherwise, and whether participated to or from Bank In whole or in part;
"Banking Day' means any day (other than any Saturday, Sunday or legal holiday) on which Bank's
banking office is open to the public for carrying on substantially all of its banking functions;
"Banking-Office Time" means, when used with reference to any time, that time determined at the
location of Bank's banking office; "Date of Reference" means, on any Banking Day, a date which is
two (2) Eurodollar Banking Days prior to the Banking Day in question; "Debt" means, collectively, all
obligations of the Person or Persons in question, including, without limitation, every such obligation
whether owing by one such Person alone or with one or more other Persons in a joint, several, or joint
and several capacity, whether now owing or hereafter arising, whether owing absolutely or
contingently, whether created by lease, loan, overdraft, guaranty of payment, or other contract, or by
quasi-contract, tort, statute, other operation of law, or otherwise; "Eurodollar Banking Day" means
any Banking Day on which banks in the London Interbank Market deal in United States dollar
deposits and on which banking Institutions are generally open for domestic and international business
at the place where Bank's banking office Is located and In New York City; "Maturity" means, when
used with reference to this Note, the date (whether occurring by lapse of time, acceleration, or
otherwise) upon which the last scheduled principal installment of this Note is due; "Note" means this
promissory note (Including, without limitation, each addendum, allonge, or amendment, if any,
hereto); "Obligor" means any Person who, or any of whose property, shall at the time in question be
obligated in respect of all or any part of the Bank Debt of Borrower and (in addition to Borrower)


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 includes, without limitation, co-makers, indorsers, guarantors, pledgors, hypothecators, mortgagors,
  and any other Person who agrees, conditionally or otherwise, to make any loan to, purchase from, or
 investment in, any other Obligor or otherwise assure such other Obligor's creditors or any of them
 against loss; "One Month LIBOR" means, with respect to a loan, the rate per annum (rounded
 upwards, if necessary, to the next higher 1/16 of 1%) determined by Bank and equal to the average
 rate per annum at which deposits (denominated in United States dollars) in an amount similar to the
 principal amount of that loan and with a maturity of one (1) month are offered at 11:00 A.M. London
 time (or as soon thereafter as practicable) on the Date of Reference by banking institutions in the
 London, United Kingdom market, as such interest rate is referenced and reported by the British
 Bankers Association on Reuters Screen LIBOR01 Page or, if the same is unavailable, any. other
generally accepted authoritative source of such interest rate as Bank may reference from time to time;
"Person" means an individual or entity of any kind, including, without limitation, any association,
company,cooperative, corporation, partnership, trust, governmental body, or any other form or kind of
entity; "Prime Rate" means the fluctuating rate per annum which is publicly announced from time to
time by Bank as being its so-called "prime rate" or "base rate" thereafter in effect, with each change in
the Prime Rate automatically, immediately, and without notice changing the Prime Rate thereafter
applicable hereunder, it being acknowledged that the Prime Rate is not necessarily the lowest rate of
interest then available from Bank on fluctuating-rate loans; "Proceeding" means any assignment for
the benefit of creditors, any case in bankruptcy, any marshalling of any Obligor's assets for the benefit
of creditors, any moratorium on the payment of debts, or any proceeding under any law relating to
conservatorship, insolvency, liquidation, receivership, trusteeship, or any similar event, condition, or
other thing; "Related Writing" means this Note and any indenture, note, guaranty, assignment,
mortgage, security agreement, subordination agreement, notice, financial statement, legal opinion,
certificate, or other writing of any kind pursuant to which all or any part of the Bank Debt of Borrower
is issued, which evidences or secures all or any part of the Bank Debt of Borrower, which governs the
relative rights and priorities of Bank and one,or more other Persons to payments made by, or the
property of, any Obligor, which is delivered to Bank pursuant to another such writing, or which is
otherwise delivered to Bank by or on behalf of any Person (or any employee, officer, auditor, counsel,
or agent of any Person) in respect of or in connection with all or any part of the Bank Debt of
Borrower; and the foregoing definitions shall be applicable to the respective plurals of the foregoing
defined terms.

4.       Events of Default. It shall be an "Event of Default' if (a) all or any part of the Bank Debt of
 any Obligor shall not be paid in full promptly when due (whether by lapse of time, acceleration, or
 otherwise); (b) any representation, warranty, or other statement made by any Person (other than
 Bank) in any Related Writing shall be untrue or Incomplete in any respect when made;(c) any Person
(other than Bank) shall repudiate or shall fail or omit to perform or observe any agreement contained
in this Note or in any other Related Writing that is on that Person's part to be complied with;(d) any
 indebtedness (other than any evidenced by this Note) of any Obligor shall not be paid when due, or
there shall occur any event, condition, or other thing which gives (or which with the lapse of any
 applicable grace period, the giving of notice, or both would give) any creditor the right to accelerate or
 which automatically accelerates the maturity of any such indebtedness;(e) Bank shall not receive (In
 addition to any information described in any addendum to this Note) without expense to
 Bank, (I) forthwith upon each request of Bank made upon Borrower therefore,(A)such information in
 writing regarding the financial condition, properties, business operations, if any, and pension plans, if
 any, of Borrower, Borrower's affiliates and/or any other Obligor prepared, in the case of financial
 i nformation, in accordance with generally accepted accounting principles consistently applied and
 otherwise in form and detail satisfactory to Bank or (B) written permission, in form and substance
satisfactory to Bank,from each such Person to inspect (or to have inspected by one or more Persons
selected by Bank) the properties and records of that Person and to make copies and extracts from
those records or (ii) prompt written notice whenever Borrower (or any director, employee, officer, or

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   agent of Borrower) knows or has reason to know that any Event of Default has occurre
                                                                                                     d;(1) any
   judgment shall be entered against any Obligor In any judicial or administrative tribunal or
                                                                                                   before any
   arbitrator or mediator;(g) any Obligor shall fail or omit to comply with any applicable
                                                                                                    law, rule,
   regulation, or order in any material respect;(h) any proceeds of the loan evidenced by this
                                                                                                    Note shall
   be used for any purpose that is not in the ordinary course of Borrower's business; (i) any
                                                                                                  property in
   which any Obligor now has or hereafter acquires any rights or which now or hereafter secures
   Bank Debt shall be or become encumbered by any mortgage, security interest, or other                    any
                                                                                                 lien, except
   any mortgage, security interest, or other lien consented to by Bank; (/) any Obligor shall at
                                                                                                  any time or
   over any period of time sell, lease, or otherwise dispose of all or any material part of
                                                                                              that Obligor's
   assets, except for inventory sold in the ordinary course of business and other assets sold,
   otherwise disposed of with the consent of Bank;(k) any Obligor shall cease to exist leased, or
                                                                                                 or shall be
  dissolved, become legally incapacitated, or die; (1) any Proceeding shall be commenced
                                                                                               with respect
  to any Obligor;(m)there shall occur or commence to exist any event, condition, or other
                                                                                                    thing that
  constitutes an "Event of Default" as defined In any addendum to this Note;(n)there
                                                                                            shall occur any
  event, condition, or other thing that has, or, in Bank's judgment, Is likely to have, a
                                                                                          material adverse
  effect on the financial condition, properties, or business operations of any Obligor or on
                                                                                              Bank's ability
  to enforce or exercise any agreement or right arising under, out of, or in connection with
                                                                                               any Related
  Writing; or (o)the holder of this Note shall, In good faith, believe that the prospect
                                                                                             of payment or
  performance of any obligation evidenced by this Note is impaired.

 5.       Effects of Default. If any Event of Default (other than the commencement of any
  with respect to Borrower) shall occur, then, and in each such case, notwithstanding any Proceeding
  inference to the contrary, Bank shall have the right in its discretion, by giving           provision or
                                                                                         written notice to
  Borrower, to declare this Note to be due, whereupon the entire unpaid principal
                                                                                      balance of this Note
 (if not already due) shall immediately become due and payable in full. if any
                                                                                      Proceeding shall be
 commenced with respect to Borrower, then, notwithstanding any provision or
                                                                                         inference to the
 contrary, automatically, without presentment, protest, or notice of dishonor, all of which
                                                                                            are waived by
 all makers and all indorsers of this Note, now or hereafter existing, the entire unpaid
                                                                                         principal balance
 of this Note (if not already due) shall immediately become due and payable in full.

 6.      Late Charges. If any principal of or interest on this Note is not paid within
                                                                                       ten (10) days after
 its due date, then, and in each such case, Bank shall have the right to assess a late
                                                                                          charge, payable
 by Borrower on demand, in an amount equal to the greater of twenty dollars
                                                                                         ($20.00) or five
 percent(5%)of the amount not timely paid.

 7.      No Setoff. Borrower hereby waives any and all now existing or hereafter
 recoup or offset any obligation of Borrower under or in connection with this Note arising rights to
                                                                                   or any Related
 Writing against any claim or right of Borrower against Bank.

 B.      Indemnity: Governmental Costs. If(a)there shall be enacted any law
                                                                                     (including, without
 limitation, any change In any law or in its interpretation or administration and
                                                                                   any request by any
 governmental authority) relating to any interest rate or any assessment, reserve, or
                                                                                        special deposit
 requirement against assets held by, deposits in, or loans by Bank or to any tax (other
                                                                                        than any tax on
 Bank's overall net income) and (b) in Bank's sole opinion any such event increase
                                                                                          s the cost of
 funding or maintaining loans bearing interest based upon One Month LIBOR or
                                                                                   reduces the amount
 of any payment to be made to Bank in respect thereof, then, and In each such case,
                                                                                           upon Bank's
 demand, Borrower shall pay Bank an amount equal to each such cost increase or reduced
 as the case may be. In determining any such amount, Bank may use reasonable                  payment,
                                                                                         averaging and
 attribution methods. Each determination by Bank shall be conclusive absent obvious error.



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 9.      Indemnity: Administration and Enforcement. Borrower will reimburse Bank, on
                                                                                                     Bank's
 demand from time to time, for any and all fees, costs, and expenses (including, without limitation
                                                                                                       ,
 fees and disbursements of outside legal counsel and the interdepartmental charges and/or salarythe
                                                                                                          of
 in-house counsel) incurred by Bank in administering this Note or in protecting, enforcing
                                                                                                       , or
 attempting to protect or enforce its rights under this Note. If any amount (other than any principal
                                                                                                         of
 this Note and any interest and late charges) owing under this Note is not paid when due, then,
                                                                                                     and in
 each such case, Borrower shall pay, on Bank's demand, interest on that amount from the due
                                                                                                       date
 t hereof until paid in full at a fluctuating rate equal to four percent(4%) per annum plus the Prime
                                                                                                      Rate.
  10.     Waivers; Remedies; Application of Payments. Bank may from time to time in its
                                                                                                   discretion
  grant waivers and consents in respect of this Note or any other Related Writing or
                                                                                                   assent to
  amendments thereof, but no such waiver, consent, or amendment shall be binding upon Bank
                                                                                                       unless
  set forth in a writing (which writing shall be narrowly construed)signed by Bank. No course of
                                                                                                     dealing
  in respect of, nor any omission or delay in the exercise of, any right, power, or privilege by Bank
                                                                                                          shall
  operate as a waiver thereof, nor shall any single or partial exercise thereof preclude any
                                                                                                   further or
 other exercise thereof or of any other, as each such right, power, or privilege may be exercised
                                                                                                        either
 independently or concurrently with others and as often and in such order as Bank
                                                                                                 may deem
 expedient. Without limiting the generality of the foregoing, neither Bank's acceptance of
                                                                                               one or more
 late payments or charges nor Bank's acceptance of interest on overdue amounts at the
                                                                                                  respective
 rates applicable thereto shall constitute a waiver of any right of Bank. Each right, power,
                                                                                                or privilege
 specified or referred to in this Note is in addition to and not in limitation of any other
                                                                                            rights, powers,
 and privileges that Bank may otherwise have or acquire by operation of law, by other
 otherwise. Bank shall be entitled to equitable remedies with respect to each breach or contract, or
                                                                                                anticipatory
 repudiation of any provision of this Note, and Borrower hereby waives any defense which
 asserted to bar any such equitable remedy. Bank shall have the right to apply payments in might be
 the indebtedness evidenced by this Note with such allocation to the respective parts thereof     respect of
                                                                                                     and
 respective due dates thereof as Bank in its sole discretion may from time to time deem advisable the
                                                                                                        .
 11.     Other Provisions. The provisions of this Note shall bind Borrower and Borrower's
                                                                                                successors
 and assigns and benefit Bank and its successors and assigns, including each subseque
                                                                                                nt holder, if
 any, of this Note. Except for Borrower and Bank and their respective successors and
                                                                                             assigns, there
 are no intended beneficiaries of this Note or the loan evidenced by this Note. The
                                                                                               provisions of
 sections 7 through 20, both Inclusive, shall survive the payment in full of the principal of and
 on this Note. The captions to the sections and subsections of this Note are Inserted for convenie   interest
                                                                                                         nce
 only and shall be Ignored in Interpreting the provisions thereof. Each reference to a section
                                                                                                    includes
 a reference to all subsections thereof (i.e., those having the same character or characters to the
                                                                                                       left
 the decimal point) except where the context clearly does not so permit. If any provision in this of
                                                                                                        Note
shall be or become illegal or unenforceable in any case, then that provision shall be deemed modified
 in that case so as to be legal and enforceable to the maximum extent permitted by law while
                                                                                                        most
 nearly preserving its original Intent, and In any case the illegality or unenforceability of that provision
shall affect neither that provision in any other case nor any other provision. All fees, interest,
                                                                                                         and
 premiums for any given period shall accrue on the first day thereof but not on the last day thereof
(unless the last day is the first day) and in each case shall be computed on the basis of a 360-day
 year and the actual number of days in the period. In no event shall interest accrue at a higher
                                                                                                         rate
than the maximum rate, if any, permitted by law. Bank shall have the right to furnish to its affiliates,
and to such other Persons as Bank shall deem advisable for the conduct of its business, informati
                                                                                                            on
concerning the business, financial condition, and property of Borrower, the amount of the Bank Debt
of Borrower, and the terms, conditions, and other provisions applicable to the respective parts thereof.
Borrower hereby grants to Bank a security interest in all deposit accounts (except individual
retirement accounts) Borrower has or at any time may have with Bank or Bank's affiliates to secure
the payment of all amounts owed under this Note and all other Debt of Borrower to Bank or Bank's

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  affiliates. This Note shall be governed by the law (excluding conflict of laws rules) of the jurisdiction in
  which Bank's banking office is located.

 12.     Integration. This Note and, to the extent consistent with this Note, the other Related Writings,
 set forth the entire agreement of Borrower and Bank as to the subject matter of this Note, and may
 not be contradicted by evidence of any agreement or statement unless made In a writing (which
 writing shall be narrowly construed) signed by Bank contemporaneously with or after the execution
 and delivery of this Note. Without limiting the generality of the foregoing, Borrower hereby
 acknowledges that Bank has not based, conditioned, or offered to base or condition the credit hereby
 evidenced or any charges, fees, interest rates, or premiums applicable thereto upon Borrower's
 agreement to obtain any other credit, property, or service other than any loan, discount, deposit, or
 trust service from Bank.

13.      Notices and Other Communications. Each notice, demand, or other communication,
 whether or not received, shall be deemed to have been given to Borrower whenever Bank shall have
 mailed a writing to that effect by certified or registered mail to Borrower at Borrower's mailing address
(or any other address of which Borrower shall have given Bank notice after the execution and delivery
 of this Note); however, no other method of giving actual notice to Borrower is hereby precluded.
 Borrower hereby irrevocably accepts Borrower's appointment as each Obligor's agent for the purpose
 of receiving any notice, demand, or other communication to be given by Bank to each such Obligor
 pursuant to any Related Writing. Bank shall be entitled to assume that any knowledge possessed by
 any Obligor other than Borrower is possessed by Borrower. Each communication to be given to Bank
shall be in writing unless this Note expressly permits that communication to be made orally, and in
any case shall be given to Bank at Bank's banking office (or any other address of which Bank shall
have given notice to Borrower after the execution and delivery this Note). Borrower hereby assumes
all risk arising out of or in connection with each oral communication given by Borrower and each
communication given or attempted by Borrower in contravention of this section. Bank shall be entitled
to rely on each communication believed in good faith by Bank to be genuine.

 14.     Illinois Insurance. Unless Borrower provides Bank with evidence of the insurance coverage
 required by Borrower's agreement with Bank, Bank may purchase insurance at Borrower's expense to
 protect Bank's interests in the collateral. This insurance may, but need not, protect Borrower's
 interests. The coverage that Bank purchases may not pay any claim that Borrower makes or any
 claim that Is made against Borrower in connection with the collateral. Borrower may later cancel any
 insurance purchased by Bank, but only after providing Bank with evidence that Borrower has obtained
 insurance as required by their agreement. If Bank purchases insurance for the collateral, Borrower
 will be responsible for the costs of that insurance, including interest and any other charges Bank may
 Impose in connection with the placement of the insurance, until the effective date of the cancellation
 or expiration of the insurance, The costs of the insurance may be added to Borrower's total
 outstanding balance or obligation. The costs of the insurance may be more than the cost of insurance
 Borrower may be able to obtain on Borrower's own.

 16. Collateral. Borrower acknowledges this Note is also secured by any and all mortgages, security
 agreements, assignments, loan agreements, pledge agreements and any other document or
 instrument evidencing a security interest or other lien in favor of Bank and executed and delivered by
 Borrower or any third party as security for payment of this Note and/or all indebtedness of Borrower to
 Bank, whether contemporaneous with the execution of this Note or at any other time, including but
 not limited to the mortgage executed by Borrower in favor of Bank dated November 29, 2007, and
 which was recorded in Liber                   , Page                 of Lake County Records and any
 amendments thereto. Collateral securing other obligations of Borrower to Bank may also secure this
 Note.

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   17. Warrant of Attorney (Confession of Judgment). Borrower hereby authorizes any attorney
                                                                                                              at
   law at any time or times to appear in any state or federal court of record in the United States
                                                                                                              of
  A merica after all or any part of the obligations evidenced by this Note shall have become
                                                                                                           due,
  whether by lapse of time, acceleration, or otherwise, and in each case to waive the issuance
                                                                                                            and
  service of process, to present to the court this Note and any other writing (if any) evidenci
                                                                                                        ng the
  obligation or obligations in question, to admit the due date thereof and the nonpayment
                                                                                                 thereof when
  due, to confess judgment against Borrower in favor of Bank for the full amount then appearin
                                                                                                        g due,
  together with interest and costs of suit (including, but not limited to, attorneys' fees), and thereupo
                                                                                                           n to
  release all errors and waive all rights of appeal and any stay of execution. The foregoing
                                                                                                    warrant of
  attorney shall survive any judgment, it being understood that should any judgment against
                                                                                                     Borrower
  be vacated for any reason, Bank may nevertheless utilize the foregoing warrant of
                                                                                                   attorney in
 thereafter obtaining one or more additional judgments against Borrower. Borrower hereby waives
  releases any and all claims or causes of action which Borrower might have,against                        and
                                                                                                 any attorney
 acting under the terms of the authority which Borrower has granted herein arising out of or
                                                                                                    connected
 with the confession of any judgment. Should Borrower enter an appearance in such cause
                                                                                                      of action
 and commence any proceeding to open or vacate a judgment taken by confession
                                                                                               hereunder and
 seek to defend against that judgment, Borrower shall be liable for and hereby agrees
                                                                                                    to pay all
 additional expenses of Bank including attorneys' fees, expenses and court costs
                                                                                                  incurred In
 connection with the collection of the obligations evidenced by this Note and all costs
                                                                                                of any nature
 incurred by Bank under any of the Related Writings.

 18. Direct Debit. The following is applicable if checked by Borrower:[Payments shall be
                                                                                         paid by
 Borrower by debiting Borrower's 04 ,4 )/ 4        account, number             on the due date.
  19. Jurisdiction and Venue; Waiver of Jury Trial. Any action, claim, counterclaim,
                                                                                                crossclaim,
  proceeding, or suit, whether at law or in equity, whether sounding in tort, contract, or otherwis
                                                                                                    e at any
 time arising under or in connection with this Note or any other Related Writing, the
                                                                                             administration,
 enforcement, or negotiation of this Note or any other Related Writing, or the performa
                                                                                                 nce of any
 obligation in respect of this Note or any other Related Writing (each such action, claim,
                                                                                              counterclaim,
 crossclaim, proceeding, or suit, an "Action") may be brought In any federal or state court
                                                                                                  located in
 the city in which Bank's banking office is located. Borrower hereby unconditionally submits
                                                                                                      to the
 jurisdiction of any such court with respect to each such Action and hereby waives any
                                                                                                   objection
 Borrower may now or hereafter have to the venue of any such Action brought in any such
                                                                                                       court.
 BORROWER HEREBY, AND EACH HOLDER OF THIS NOTE, BY TAKING POSSES
                                                                                                      SION
 THEREOF, KNOWINGLY AND VOLUNTARILY WAIVES JURY TRIAL IN RESPECT OF
                                                                                                        ANY
 ACTION.

                                        Borrower: 650 Church Street, LLC

                                        By:
                                           Gerar o Chacin
                                        Its:Manager




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                                     LOAN SETTLEMENT STATEMENT
                                    AND BORROWER'S AUTHORIZATION

Borrower: 650 Church Street, LLC

Principal Amount of Note: $3,600,000.00

Note Date:                     , 2009

In connection with the above referenced loan transaction, National City Bank, a national banking
                                                                                                 association
has incurred or will incur the following expenses:

           Loan Closing Fee                                                      4a5e.
                                                                                     :(10—    tAiii...i ved



                TOTAL:
                                                                                          ,IAJ-Leet.ke4A--.
                                                                                ---1U9a—



Please pay the above charges in the following manner (Check One):

[1       Check in the above amount attached hereto.

I1       Please debit my Account Number                      and send copy of Debit Advice to above Borrower.



 Borrower: 650 Church Street, LLC


By:                                           Its: Manager          Date:                 , 2009
      Gerardo Chacin



                                            Acknowledgement

Bank: NATIONAL CITY BANK


By:                                           Its:                     Date:                 , 2009
      Sheila Kerins
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                                   GUARANTOR'S CONSENT


    Each undersigned Guarantor, intending to be legally bound, hereby acknowledges and agrees
    that: (i) such Guarantor consents to the foregoing Promissory Note Modification Agreement
   ("Modification") dated                          , 2009, by and between 650 Church Street, LLC
   ("Borrower" or, if more than one (1), collectively "Borrower") and National City Bank, a
    national banking association ("Bank"); (ii) each guaranty given by such Guarantor to secure
    the payment of the obligations and indebtedness of Borrower to Bank remains in full force and
   effect and is unaffected by the Modification; (111) such Guarantor is bound as If such Guarantor
    were a party to the Modification; and (iv) such Guarantor hereby reaffirms and restates such
    Guarantor's absolute and unconditional guaranty of, and agreement to become a surety for, the
   obligations and indebtedness of Borrower to Bank, whether now existing or hereafter arising,
   including, but not limited, to those obligations and indebtedness evidenced by the Modification.


                                              GUARANTOR:



   Date:    2
            /%                , 2009          c-41
                                             Gerardo Chacin, Individually




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                    EXHIBIT C
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                                                                c\_
             IN THE CIRCUIT COURT OF THE NINETEENTH JUDICIA t3IRthJIT
                              LAKE COUNTY,ILLINOIS

     PNC Bank, National Association, successor to National City Bank,
                                                                                                 ck.x.11`
                                              Plaintiff,                                   nukc0'

     Vs                                                                       o. 10 CH 4470

     650 Church Street,LLC,an Illinois limited liability company; Gerardo
     Chacin; Worldwide Transmission Core Supply, Inc.,; and Unknown
     Owners and Non-Record Claimants,
                                              Defendants.


                           JUDGMENT ORDER ON THE NOTE(COUNT 111)

             THIS MATTER coming before the Court on PlaintiffPNC Bank, National Association's
     Motion for Judgment On The Note(Count III), due notice having been given, the Court having
     jurisdiction over the parties and subject matter and being duly advised in the premises,

            IT IS HEREBY ORDERED:

            1.     As to Count III Judgment is hereby entered against Defendant 650 Church Street,
                   LLC, an Illinois Limited Liability Company, in the amount of $5,118,949.58 plus
                   costs of$6,635.04 plus attorney's fees in the amount of$196,146.20 for a total
                   judgment amount of$5,321,730.82.

           2.      This is a final judgment and there is no just reason to delay enforcement, or
                   appeal, or both from this order.


                                                 Date:
                                                            viRf;heli       Hrn wis
                                                 Judge


    William J. Hurley, III (6182818)
    CROWLEY & LAMB,P.C.
    221 North LaSalle Street
    Suite 1550
    Chicago, Illinois 60601
   (312)670-6900
